                                  Case 25-10099-BLS                  Doc 1       Filed 01/17/25            Page 1 of 83


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Canoo Technologies Inc.

2.   All other names debtor
     used in the last 8 years
                                  FKA Canoo Inc.
     Include any assumed          FKA Evelozcity Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  15520 Highway 114
                                  Suite 2C
                                  Justin, TX 76247
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Denton                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.canoo.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Canoo Technologies Inc                                                                        Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3361

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

9.   Were prior bankruptcy                 No.
     cases filed by or against             Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases               No
    pending or being filed by a            Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                  Relationship


Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                Case 25-10099-BLS                     Doc 1         Filed 01/17/25              Page 3 of 83
Debtor   Canoo Technologies Inc                                                                    Case number (if known)
         Name



                                              District                                 When                             Case number, if known


11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 25-10099-BLS                   Doc 1        Filed 01/17/25             Page 4 of 83
Debtor    Canoo Technologies Inc                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 17, 2025
                                                  MM / DD / YYYY


                             X                                                                            Ramesh Murthy
                                 Signature of authorized representative of debtor                         Printed name

                                         Chief Administrative Officer, SVP
                                 Title   Finance, Chief Accounting Officer




18. Signature of attorney    X                                                                             Date January 17, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robert A. Weber
                                 Printed name

                                 Chipman Brown Cicero & Cole, LLP
                                 Firm name

                                 Hercules Plaza
                                 1313 North Market Street, Suite 5400
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 295-0191                Email address      weber@chipmanbrown.com

                                 4013 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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         The following list identifies all of the affiliated entities, including the Debtor filing this
petition, that have filed voluntary petitions for relief in this Court under chapter 7 of title 11 of the
United States Code, 11 U.S.C. §§ 701 et seq., as amended, substantially contemporaneously with
the filing of this petition.


                                    DEBTOR’S NAME                DEBTOR’S EIN        STATE OF INC.

         1.            Canoo Inc.                                  XX-XXXXXXX           Delaware
         2.            EV Global Holdco LLC                                             Delaware
         3.            EV US Holdco Inc.                                                Delaware
         4.            Canoo Technologies Inc.                     XX-XXXXXXX           Delaware
         5.            Canoo Manufacturing, LLC                    XX-XXXXXXX           Delaware
         6.            Canoo Sales, LLC                            XX-XXXXXXX           Delaware




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 7

Canoo Inc.,                                                   Case No. 25-xxxxx (xxx)

                       Debtor.

Tax I.D. No. No. XX-XXXXXXX


In re:                                                        Chapter 7

EV Global Holdco LLC,                                         Case No. 25-xxxxx (xxx)

                       Debtor.

Tax I.D. No. No. xx-xxxxxxx


In re:                                                        Chapter 7

EV US Holdco Inc.,                                            Case No. 25-xxxxx (xxx)

                       Debtor.

Tax I.D. No. No. xx-xxxxxxx


In re:                                                        Chapter 7

Canoo Technologies Inc.,                                      Case No. 25-xxxxx (xxx)

                       Debtor.

Tax I.D. No. No. xx-xxxxxxx


In re:                                                        Chapter 7

Canoo Manufacturing, LLC,                                     Case No. 25-xxxxx (xxx)

                       Debtor.

Tax I.D. No. No. XX-XXXXXXX




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In re:                                                                Chapter 7

Canoo Sales, LLC,                                                     Case No. 25-xxxxx (xxx)

                          Debtor.

Tax I.D. No. No. XX-XXXXXXX


                         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                              PURSUANT TO FED. R. BANKR. P. 1007(a)(1)

              Pursuant to Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure, the above-

captioned debtor and its debtor affiliates, as debtors and debtors in possession (each, a “Debtor”

and, collectively, the “Debtors”), to the best of their knowledge, information, and belief, hereto

state as follows:

              1.          No parent corporation or publicly traded corporation owns ten percent (10%) or

more of the stock of Canoo Inc.

              2.          Each remaining Debtor is wholly owned by its respective parent entity that holds

one hundred percent (100%) of such Debtor’s equity interests or membership interests. The

remaining Debtors in these chapter 7 cases are listed with their respective parent entities, together

with the nature of their equity interests, in the following table:

                                                                          NAME OF INTEREST HOLDER &
                       DEBTOR            KIND/CLASS OF INTEREST
                                                                         PERCENTAGE OF INTERESTS HELD


EV Global Holdco LLC                        Membership Interests      100% owned by Canoo Inc.

EV US Holdco Inc.                              Common Stock           100% owned by EV Global Holdco LLC

Canoo Technologies Inc.                        Common Stock           100% owned by EV US Holdco Inc.

Canoo Manufacturing, LLC                    Membership Interests      100% owned by Canoo Technologies Inc.

Canoo Sales, LLC                            Membership Interests      100% owned by Canoo Technologies Inc.

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Fill in this information to identify the case:

Debtor name         Canoo Technologies Inc

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration    Debtor's Consolidated Corporate Ownership Statement

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 17, 2025                X
                                                             Signature of individual signing on behalf of debtor

                                                             Ramesh Murthy
                                                             Printed name

                                                             Chief Admin Officer, SVP Finance, Chief Accounting Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                   RESOLUTIONS OF THE GOVERNING BODIES OF
                                CANOO INC.,
                           EV GLOBAL HOLDCO LLC,
                             EV US HOLDCO INC.,
                          CANOO TECHNOLOGIES INC.,
                       CANOO MANUFACTURING, LLC, AND
                              CANOO SALES, LLC

                                        January 17, 2025

         FILING OF A VOLUNTARY PETITION UNDER CHAPTER 7 OF THE
                           BANKRUPTCY CODE

      WHEREAS, EV Global Holdco LLC, EV US Holdco Inc., Canoo Technologies Inc.,
Canoo Manufacturing, LLC, and Canoo Sales, LLC are wholly-owned subsidiaries of Canoo Inc.;

        WHEREAS, the board of directors or manager of each of Canoo Inc., EV Global Holdco
LLC, EV US Holdco Inc., Canoo Technologies Inc., Canoo Manufacturing, LLC, and Canoo
Sales, LLC, as applicable (in each case, the “Governing Body”) (collectively, the “Companies,”
and each such entity, a “Company”), has reviewed and had the opportunity to ask questions about
the materials presented by the management and the legal and financial advisors of each Company
regarding the liabilities and liquidity of such Company, including that the Companies do not have
sufficient capital to maintain operations and the impact of the foregoing on such Company’s
businesses;

       WHEREAS, the Governing Body of each Company has had the opportunity to consult
with the management and the legal and financial advisors of such Company to fully consider
options available considering that the Companies do not have sufficient capital to maintain
operations;

       WHEREAS, the Governing Body of each Company has reviewed, considered, and
received the recommendation of senior management of such Company and the advice of such
Company’s professionals and advisors with respect to the options available to such Company,
including the possibility of pursuing a bankruptcy proceeding under Chapter 7 of title 11 of the
United States Code (as amended, the “Bankruptcy Code”);

        WHEREAS, the undersigned being the Governing Body of each of the Companies,
pursuant to Section 141(f) of the General Corporation Law of the State of Delaware, the California
General Corporation Law, and the applicable governing documents of each such Company, hereby
adopt the following resolutions by consent;

        NOW, THEREFORE, BE IT RESOLVED, that after consideration of the financial state
of the Companies and the recommendations of senior management of each of the Companies and
the advice of each of the Companies’ professionals and advisors, the Governing Body has
determined in its business judgment that it is in the best interest of each of the Companies, their
creditors, shareholders, members, and other interested parties, and stakeholders that a voluntary


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petition be filed by each of the Companies under Chapter 7 of the Bankruptcy Code in the United
States Bankruptcy Court for the District of Delaware (each a “Bankruptcy Petition”); and it is

        FURTHER RESOLVED, the officer or person designated and so authorized to act (each,
an “Authorized Person”) are, and each hereby is, authorized, empowered and directed, in the
name and on behalf of each of the Companies (a) to execute, verify and file on behalf of each of
the Companies all documents necessary or appropriate in connection with the filing of each
Bankruptcy Petition, including, without limitation, all petitions, affidavits, declarations, schedules,
statements of financial affairs, lists, motions, applications, pleadings, and other papers or
documents in connection with each Bankruptcy Petition; (b) take and perform any and all actions
deemed necessary and proper to obtain such relief as authorized herein and in connection with
each Company’s Chapter 7 case (the “Bankruptcy Case”); (c) appear as necessary at all
bankruptcy proceedings on behalf of each Company; and (d) pay all such expenses where
necessary or appropriate in order to carry out fully the intent and accomplish the purposes of the
resolutions adopted herein; and it is

        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to employ the law firm of Chipman Brown Cicero & Cole, LLP as counsel
to assist the Companies in filing for relief under Chapter 7 of the Bankruptcy Code and in carrying
out the Companies’ duties under Chapter 7 of the Bankruptcy Code, and the officers of the
Companies are hereby authorized and directed to execute retention agreements and pay retainers
prior to the filing of the bankruptcy cases; and it is

        FURTHER RESOLVED, that all instruments, agreements, certificates, consents, waivers
or other documents heretofore executed and delivered (or caused to be executed and delivered)
and all acts lawfully done or actions lawfully taken by any Authorized Person in connection with
the Bankruptcy Cases, or any further action to seek relief on behalf of each Company under
Chapter 7 of the Bankruptcy Code, or in connection with the Bankruptcy Cases, or any matter
related thereto, be, and hereby are, adopted, ratified, confirmed and approved in all respects as the
acts and deeds of such Company; and it is

        FURTHER RESOLVED, that the acts, actions and transactions heretofore taken by the
officers of each Company or the Directors of each Company in the name of and on behalf of each
Company in furtherance of the purpose and intent of any or all of the foregoing resolutions, which
acts, actions and transactions would have been approved by the foregoing resolutions except that
such acts were taken before those resolutions were adopted, be, and hereby are, ratified, confirmed,
and approved in all respects; and it is

        FURTHER RESOLVED, that the board of directors of Canoo Inc. hereby remove Hector
Ruiz, former sole director of EV Global Holdco LLC and Hennessy Capital Acquisition Corp. IV,
former sole member of EV US Holdco Inc., from their respective positions, and appoint Sean Yan
as the new sole director of EV Global Holdco LLC and EV US Holdco Inc., effective immediately;
and that the officers of each Company are hereby authorized and directed to take all necessary
actions to effectuate this change to ensure the completion of the filing of the Bankruptcy Case,
including filing any necessary documents with applicable governmental authorities; and it is



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      FURTHER RESOLVED, that electronic or photostatic copies of signatures to this
unanimous written consent in lieu of a meeting of the Board shall be deemed to be originals and
may be relied on to the same extent as the originals; and it is

       FURTHER RESOLVED, that the actions taken by this unanimous written consent in lieu
of a special meeting of the Board shall have the same force and effect as if taken at a special
meeting of the Board duly called and constituted pursuant to the Bylaws and the laws of the State
of Delaware; and it is

        FURTHER RESOLVED, that this unanimous written consent in lieu of a special meeting
of the Board may be executed in any number of counterparts, each of which when so executed and
delivered to the Company shall be deemed original, and such counterparts together shall constitute
one and the same instrument.

                                            *****




                                                3
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        IN WITNESS WHEREOF, the undersigned have executed this Unanimous Written
Consent in Lieu of a Special Meeting of the Board of Directors of the Company as of the date first
written above.




 Tony Aquila


 Foster Chiang


 Thomas Dattilo


 Deborah Diaz


 Claudia Romo Edelman


 Arthur Kingsbury


 Debra von Storch




                                 [UWC Signature Page – Chapter 7 Filing]
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        IN WITNESS WHEREOF, the undersigned have executed this Unanimous Written
Consent in Lieu of a Special Meeting of the Board of Directors of the Company as of the date first
written above.




 Tony Aquila


 Foster Chiang


 Thomas Dattilo


 Deborah Diaz


 Claudia Romo Edelman


 Arthur Kingsbury


 Debra von Storch




                                 [UWC Signature Page – Chapter 7 Filing]
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        IN WITNESS WHEREOF, the undersigned have executed this Unanimous Written
Consent in Lieu of a Special Meeting of the Board of Directors of the Company as of the date first
written above.




 Tony Aquila


 Foster Chiang


 Thomas Dattilo


 Deborah Diaz


 Claudia Romo Edelman


 Arthur Kingsbury


 Debra von Storch




                                 [UWC Signature Page – Chapter 7 Filing]
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        IN WITNESS WHEREOF, the undersigned have executed this Unanimous Written
Consent in Lieu of a Special Meeting of the Board of Directors of the Company as of the date first
written above.




 Tony Aquila


 Foster Chiang


 Thomas Dattilo


 Deborah Diaz


 Claudia Romo Edelman


 Arthur Kingsbury


 Debra von Storch




                                 [UWC Signature Page – Chapter 7 Filing]
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      IN WITNESS WHEREOF, the undersigned have executed this Unanimous Written
Consent in Lieu of a Special Meeting of the Board of Directors of the Company as of the date first
written above.




 Tony Aquila



 Foster Chiang



 Thomas Dattilo



 Deborah Diaz



 Claudia Romo Edelman



 Arthur Kingsbury




                                [UWC Signature Page - Chapter 7 Fiting]
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      IN WITNESS WHEREOF, the undersigned, being the sole member of EV Global Holdco
LLC, has executed this written consent as of the date first set forth above.


____________________________
Sean Yan




                            [UWC Signature Page – Chapter 7 Filing]
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       IN WITNESS WHEREOF, the undersigned, being the sole director of EV US Holdco Inc.,
has executed this written consent as of the date first set forth above.



____________________________
Sean Yan




                              [UWC Signature Page – Chapter 7 Filing]
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        IN WITNESS WHEREOF, the undersigned, being the sole director of Canoo Technologies
Inc., has executed this written consent as of the date first set forth above.


____________________________
Sean Yan




                              [UWC Signature Page – Chapter 7 Filing]
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       IN WITNESS WHEREOF, the undersigned, being the sole manager of Canoo Sales, LLC,
has executed this written consent as of the date first set forth above.


____________________________
Ramesh Murthy




                             [UWC Signature Page – Chapter 7 Filing]
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      IN WITNESS WHEREOF, the undersigned, being the sole manager of Canoo
Manufacturing, LLC, has executed this written consent as of the date first set forth above.



____________________________
Ramesh Murthy




                              [UWC Signature Page – Chapter 7 Filing]
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                            Chapter 7

Canoo Inc.,                                       Case No. 25-xxxxx (xxx)

              Debtor.

Tax I.D. No. No. XX-XXXXXXX


In re:                                            Chapter 7

EV Global Holdco LLC,                             Case No. 25-xxxxx (xxx)

              Debtor.

Tax I.D. No. No. xx-xxxxxxx


In re:                                            Chapter 7

EV US Holdco Inc.,                                Case No. 25-xxxxx (xxx)

              Debtor.

Tax I.D. No. No. xx-xxxxxxx


In re:                                            Chapter 7

Canoo Technologies Inc.,                          Case No. 25-xxxxx (xxx)

              Debtor.

Tax I.D. No. No. xx-xxxxxxx


In re:                                            Chapter 7

Canoo Manufacturing, LLC,                         Case No. 25-xxxxx (xxx)

              Debtor.

Tax I.D. No. No. XX-XXXXXXX
                       Case 25-10099-BLS        Doc 1     Filed 01/17/25      Page 25 of 83




In re:                                                              Chapter 7

Canoo Sales, LLC,                                                   Case No. 25-xxxxx (xxx)

                       Debtor.

Tax I.D. No. No. XX-XXXXXXX


             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

        1.       Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that
Chipman Brown Cicero & Cole, LLP (“CBCC” or the “Firm”) are attorneys for the above-named
debtors (the “Debtors”) and that compensation paid to the Firm within one (1) year before the
filing of the petitions of bankruptcy, or agreed to be paid to the Firm, for services rendered or to
be rendered on behalf of the Debtors in contemplation of or in connection with these bankruptcy
cases is as follows:

          For legal services, CBCC agreed to accept:                                          $125,000.00

          Prior to the filing of this statement, CBCC received:                              $125,000.00

          Balance Due                                                                         $0.00

          2.           The source of the compensation paid to the Firm was:

                       ▀ Debtor Canoo Technologies Inc.                        Other (Specify):

          3.

               ▀ The Firm has not agreed to share the above-disclosed compensation with any
other person unless they are members and associates of the Firm.

                The Firm has agreed to share the above-disclosed compensation with another
person or persons who are not members or associates of my law firm. A copy of the agreement,
together with a list of the names of the people sharing in the compensation, is attached.

        4.      In return for the above-disclosed fee, the Firm agreed to render legal service for all
aspects of the bankruptcy cases until the conclusion of the meeting of creditors pursuant to section
341(a) of the Bankruptcy Code, including:

                       a.     Preparation and filing of the petitions, schedules of assets and liabilities,
                              statements of financial affairs, lists of creditors and equity security holders,
                              and master mailing lists;

                       b.     Coordination with the Chapter 7 Trustee, preparation for and representation
                              of the Debtors at the meeting of creditors pursuant to section 341(a) of the
                              Bankruptcy Code; and
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                       c.    Representation of the Debtors as may otherwise be required to advise the
                             Debtors regarding their rights and responsibilities as debtors under chapter
                             7 of the Bankruptcy Code and the Bankruptcy Rules.

                                             CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to the Firm for representation of the Debtors in these bankruptcy proceedings.

Dated: January 17, 2025                            CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware
                                                        /s/ Robert A. Weber
                                                   Robert A. Weber (No. 4013)
                                                   Hercules Plaza
                                                   1313 North Market Street
                                                   Suite 5400
                                                   Wilmington, Delaware 19801
                                                   Telephone:     (302) 295-0191
                                                   Facsimile:     (302) 295-0199
                                                   Email:         weber@chipmanbrown.com

                                                   Counsel for the Debtors




                                                      -3-
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                                               United States Bankruptcy Court
                                                          District of Delaware
 In re   Canoo Technologies Inc                                                             Case No.
                                                                     Debtor(s)              Chapter     7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Chief Admin Officer, SVP Finance, Chief Accounting Officer of the corporation named as the debtor in this case, hereby verify

that the attached list of creditors is true and correct to the best of my knowledge.




Date:     January 17, 2025
                                                         Ramesh Murthy/Chief Admin Officer, SVP Finance, Chief
                                                         Accounting Officer
                                                         Signer/Title
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Canoo Inc.
15520 Hwy 114, Ste 2C                                 Gentner Drummond
Justin, TX 76247                                      Attorney General
                                                      Oklahoma Dept of Justice
Securities & Exchange Commission                      313 NE 21st St
Secretary of the Treasury                             Oklahoma City, OK 73105-3207
100 F St, NE
Washington, DC 20549                                  Panasonic Corp of NA
                                                      Mail Code 5144
Securities & Exchange Commission                      PO Box 660367
Attn: Antonia M. Apps, Regional Director              Dallas, TX 75266
New York Regional Office
100 Pearl St, Ste 20-100                              11520 HWY 114 LLC
New York, NY 10004-2616                               2126 Hamilton Rd, Ste 260
                                                      Argyle, TX 91772
Internal Revenue Service
PO Box 7346                                           Ace Energy Tech Co Ltd
Philadelphia, PA 19101-7346                           Rm 3 Unit P, 1/F Kaiser Estate
                                                      Phase 3 Nos. 9-11 Hok Yuen St
Secretary of State                                    Hunghom, Kowloon, Hong Kong
Div of Corporations
Franchise Tax                                         1099 Pro LLC
PO Box 898                                            PO Box 2710
Dover, DE 19903                                       Carol Stream, IL 60132

Delaware State Treasury                               12th Wonder LLC
820 Silver Lake Blvd, Ste 100                         5890 Stoneridge Dr, Ste 216
Dover, DE 19904                                       Pleasanton, CA 94588

Merrick B. Garland                                    15306 HWY 114 LLC
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950 Pennsylvania Ave, NW
Washington, DC 20530-0001                             91 Express Lanes
                                                      PO Box 68039
Kathy Jennings                                        Anaheim, CA 92817
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Delaware Dept of Justice                              A Plus Crane Inspections LLC
Carvel State Bldg                                     PO Box 1188
820 N French St                                       Mustang, OK 73064
Wilmington, DE 19801
                                                      Abdellah Cherti
Rob Bonta                                             [ADDRESS ON FILE]
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Ken Paxton                                            Accenture International Limited
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Texas Dept of Justice                                 Grand Canal Harbour Dublin 2
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Austin, TX 78701



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Accuracy Locksmith LLC                                Allied Plastics LLC
8306 Wilshire Blvd, Unit 489                          150 Holy Hill Rd
Beverly Hills, CA 90211                               Twin Lakes, WI 53181

Acenitec Inc                                          Allied Wire & Cable Inc
4244 NW 39th St                                       101 Kestrel Dr
Oklahoma City, OK 73112                               Collegeville, PA 19426

Activpayroll Ltd                                      Allium US Holding LLC
5 Cults Business Pk                                   PO Box 735794
Station Rd                                            Chicago, IL 60673
Aberdeen, Scotland
United Kingdom AB15 9PE                               Altair Engineering Inc
                                                      Dept 771419
Adam Gallegos                                         PO Box 77000
1302 Sunset Pl                                        Detroit, MI 48277
Ojai, CA 93023
                                                      AM Equipment Inc
Adobe Inc.                                            402 Hazel St
29322 Network Pl                                      Jefferson, OR 97352
Chicago, IL 60673
                                                      Amazon Web Services Inc
AFCO                                                  PO Box 84023
4501 College Blvd, Ste 320                            Seattle, WA 98124
Leawood, KS 66211
                                                      American Group LLC
Air Capital Equipment Inc                             PO Box 72086
806 E Boston St                                       Cleveland, OH 44192
Wichita, KS 67211
                                                      American Red Cross
AIRGAS USA LLC                                        25688 Network Pl
PO Box 734445                                         Chicago, IL 60673
Chicago, IL 60673
                                                      AmeriGas
Al Tamimi & Company Advocate and                      PO Box 7155
Legal Consultant                                      Pasadena, CA 91109
Level 8, Tadawul Tower
King Abdullah Financial District                      Amit Ranjan
Riyadh, Saudi Arabia 11372                            [ADDRESS ON FILE]

Alejandro Flores Cano                                 AMP Industrial Service sro
[ADDRESS ON FILE]                                     Slavikova 436, Libice nad Cidlinou
                                                      Tschechien Czech Republic 289 07
Alex James Gocht
226 Juneberry Dr                                      Amphenol Custom Cable Inc
Fitchburg, WI 53718                                   3221 Cherry Palm Dr
                                                      Tampa, FL 33619
Alex Turner
19814 Enadia Way                                      Amphenol Technical Products International Co
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                                                      Winnipeg, Canada R3H0K1
Alixpartners LLP
909 Third Ave                                         Amphenol Tecvox LLC
New York, NY 10022                                    25270 Will McComb Dr
                                                      Tanner, AL 35671
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                                                      Aptiv Control-Tec LLC
Ancor Automotive LLC                                  999 Republic Dr, Ste 100
PO Box 64000                                          Allen Park, MI 48101
Detroit, MI 48264
                                                      Aqua Green Solutions
Anderton Castings LLC                                 2710 E Corridor Dr
PO Box 1170                                           Appleton, WI 54913
Temple, TX 76503
                                                      Aqua Texas Inc
Anderton Castings SAS                                 PO Box 70279
1388 Rue Adrienne Bolland                             Philadelphia, PA 19176
Andrezieux-Boutheon, France 42160
                                                      Aramark Refreshment Services LLC
Andrew Herchenroeder                                  17044 Montanero Ave, Unit 4
[ADDRESS ON FILE]                                     Carson, CA 90746

Andy Trestrail                                        Arbin Instruments Inc
[ADDRESS ON FILE]                                     762 Peach Creek Cut Off Rd
                                                      College Station, TX 77845
Ansys Inc
2600 Ansys Dr                                         Ariel Heraldez
Canonsburg, PA 15317                                  [ADDRESS ON FILE]

Anthem Blue Cross Life & Health Ins Co                Arrow Electronics Inc
PO Box 511300                                         9201 E Dry Creek Rd
Los Angeles, CA 90051                                 Centennial, CO 80112

Anthony Aquila                                        Artemis Consulting Group Inc
[ADDRESS ON FILE]                                     13221 N Teal Blue Tr
                                                      Tucson, AZ 85742
Anton Manufacturing
Division of Multimatic Inc                            ASAM eV
300 Basaltic Rd                                       Altlaufstraße 40
Concord, Canada L4K 4Y9                               Höhenkirchen, Germany 85635

Anvil Ventures Inc                                    Assemble-Rite Ltd
2125 Western Ave, Ste 208                             20501 Pennsylvania Rd, Ste 150
Seattle, WA 98121                                     Brownstown, MI 48193

Aon Consulting Inc                                    AT&T Corporation
29695 Network Pl                                      One AT&T Way
Chicago, IL 60673                                     Bedminster, NJ 07921

Applied Technical Services LLC                        Atlas Copco Tools and Assembly Systems Inc
1049 Triad Ct                                         3301 Cross Creek Pkwy
Marietta, GA 30062                                    Auburn Hills, MI 48326

Applus IDIADA KARCO Engineering LLC                   ATOP SpA
9270 Holly Rd                                         Strada S.Appiano 8/A
Adelanto, CA 92301                                    Barberino Val d’Elsa, Italy 50021

aPriori Technologies Inc                              ATS Automation Tooling Systems Inc
300 Baker Ave, Ste 170                                730 Fountain St N, Bldg #1
Concord, MA 01742                                     Cambridge, Canada N3H 4R7

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Audio User Experience LLC                             Best Buy Automotive Equipment
39 West 14th St, Ste 303                              42660 Rio Nedo
New York, NY 10011                                    Temecula, CA 92590

Auria Solutions USA Inc                               Best Packaging and Crating Inc
Attn Accounting                                       15010 S Main St
PO Box 580                                            Gardena, CA 90248
Albemarle, NC 28002
                                                      Bestop PRP LLC
Autodesk Inc                                          43352 Business Park Dr
c/o Citibank                                          Temecula, CA 92590
PO Box 2188
Carol Stream, IL 60132                                BETA CAE Systems International AG
                                                      Platz 4, Root, Switzerland 6039
Autokiniton US Holdings Inc
11505 US-223                                          BG Networks Inc
Blissfield, MI 49228                                  100 Robin Rd
                                                      Weston, MA 02493
Automotive Equipment Warehouse Inc
7689 Corporate Blvd                                   BizLink Technology Inc
Plain City, OH 43064                                  47211 Bayside Pkwy
                                                      Fremont, CA 94538
Axalta Coating Systems LLC
PO Box 3490                                           Black Hills Energy
Carol Stream, IL 60132                                PO Box 7966
                                                      Carol Stream, IL 60197
Axiom Global Inc
Three World Trade Centre, 50th Fl                     Bloomberg Industry Group Inc
Greenwich Street                                      1801 S Bell St
New York, NY 10007                                    Arlington, VA 22202

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Milwaukee, WI 53278                                   Los Angeles, CA 90084

Barry Quattromani                                     Boisineau Law
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Lambertville, MI 48144                                Westminster, CA 92683

Bauer Associates Inc                                  BOS Automotive Products Inc
44190 Plymouth Oaks Blvd                              2956 Waterview Dr
Plymouth, MI 48170                                    Rochester Hills, MI 48309

BCI Mechanical Inc                                    Bradley Arant Boult Cummings LLP
400 E Oak St                                          PO Box 830709
Denton, TX 76201                                      Birmingham, AL 35283

Ben Sager Photography LLC                             Brady Worldwide Inc
84 Quincy Ave                                         PO Box 71995
Carson, CA 90803                                      Chicago, IL 60694

Benjamin Cotton                                       Brendon Couturier
106 Wedgewood Dr                                      68 Crane Hill Rd
Greenville, SC 29609                                  Wilbraham, MA 1095

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Brent Zaddock                                         Carroll Electric Cooperative Corp
[ADDRESS ON FILE]                                     PO Box 4000
                                                      Berryville, AR 72616
Bridge Crane Specialists LLC
PO Box 940                                            CASCO Products Corporation
Kiefer, OK 74041                                      28698 Network Pl
                                                      Chicago, IL 60673
Bright IA - Intelligent Automation
120509 N Saginaw Blvd, Ste 338                        CCL Design
Fort Worth, TX 76179                                  12303 Collection Center Dr
                                                      Chicago, IL 60693
Broadband Telcom Power Inc
1719 S Grand Ave                                      CDH Detroit Inc
Santa Ana, CA 92705                                   7 W Square Lake Rd
                                                      Bloomfield Hills, MI 48302
Broadridge ICS Inc
PO Box 416423                                         CEVA Freight LLC
Boston, MA 2241                                       15350 Vickery Dr
                                                      Houston, TX 77032
Budget Flag
310 N Rockwell Ave                                    CEVA Logistics US Inc
Oklahoma City, OK 73127                               15350 Vickery Dr
                                                      Houston, TX 77033
Burke E Porter Machinery Co
730 Plymouth Ave NE                                   Chappell Supply
Grand Rapids, MI 49505                                6509 W Reno Ave
                                                      Oklahoma City, OK 73127
C&D Lift LLC
1208 Northeast Johnson Rd                             Charles River Associates
Minco, OK 73059                                       200 Clarendon St
                                                      Boston, MA 2116
Cadwell GmbH
Luisenstraße 1                                        Chemtrec LLC
Haan, Germany 42781                                   PO Box 791383
                                                      Baltimore, MD 21279
CAE Services Corporation
280 Belleview Ln                                      CHEP Container & Pooling Solutions Inc
Batavia, IL 60510                                     PO Box 74008180
                                                      Chicago, IL 60674
Caldwell & Associates LLC
1921 NW 35th St                                       Christopher Arata
Oklahoma City, OK 73118                               [ADDRESS ON FILE]

Capgemini America Inc                                 Christopher Jones
400 Broadacres Dr, Ste 410                            [ADDRESS ON FILE]
Bloomfield, NJ 7003
                                                      Christopher Mitchell
Capture 3D Inc                                        [ADDRESS ON FILE]
3207 S Shannon St
Santa Ana, CA 92704                                   Chrome Data
                                                      PO Box 7410265
Carl Warren & Company LLC                             Chicago, IL 60674
175 N Riverview Dr, Unit A
Anaheim, CA 92808

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Cirba Solutions LLC                                   Computer Aided Technology LLC
4930 Holtz Rd                                         165 North Arlington Rd, Ste 101
Wixom, MI 48393                                       Buffalo Grove, IL 60080

Cision US Inc                                         Concept Group LLC
12051 Indian Creek Ct                                 2985 E Miraloma Ave
Beltsville, MD 20705                                  Anaheim, CA 92806

City of Lawndale                                      Confluent Inc
c/o Citation Processing Center                        899 West Evelyn Ave
PO Box 10479                                          Mountain View, CA 94041
Newport Beach, CA 92658
                                                      Conner Nestler
City of Torrance                                      4488 Heron Dr
3301 Airport Dr                                       Reading, PA 19606
Torrance, CA 90505
                                                      Consilio Inc
City of Torrance Utilities                            Dept CH 17174
PO Box 845629                                         Palatine, IL 60055
Los Angeles, CA 90084
                                                      Container Alliance Company
Clearwater Enterprises LLC                            510 Castillo St, Ste 340
5637 N Classen Blvd                                   Santa Barbara, CA 93101
Attn: Jennifer Ikeler
Oklahoma City, OK 73118                               Contegix
                                                      PO Box 671710
Cloudflare Inc                                        Dallas, TX 75267
101 Townsend St
San Francisco, CA 94107                               Contentful Inc
                                                      1801 California St, Ste 4600
Cody Dotson                                           Denver, CO 80202
[ADDRESS ON FILE]
                                                      Continental Stock Transfer & Trust Co
Cogency Global Inc                                    4 Metrotech Center, 14th Fl
122E 42nd St, 18th Fl                                 Brooklyn, NY 11245
New York, NY 10168
                                                      ContiTech Fluid Technology Changchun Co Ltd
Coilcraft Inc                                         No 5518 Changshen Rd
PO Box 7230                                           China 130011
Carol Stream, IL 60197
                                                      Convergint Technologies LLC
Compensia Inc                                         35257 Eagle Way
PO Box 103143                                         Chicago, IL 60678
Pasadena, CA 91189
                                                      Cornerstone Government Affairs Inc
Competitive Vehicle Services                          800 Maine Ave SW, 7th Fl
550 Oliver Dr                                         Washington, DC 20024
Troy, MI 48084
                                                      Cornerstone OnDemand Inc
Composite Envisions LLC                               Dept CH19590
8450 Development Ct                                   Palatine, IL 60055
Wausau, WI 54401
                                                      CoServ
                                                      PO Box 734803
                                                      Dallas, TX 75373
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County of Los Angeles Fire Department                 Dakota Software Corporation
PO Box 513148                                         1375 Euclid Ave, Ste 500
Los Angeles, CA 90051                                 Cleveland, OH 44115

Cox Business                                          Dana Limited
PO Box 650991                                         PO Box 910230
Dallas, TX 75265                                      Dallas, TX 75391

C-P-S Automotive LP                                   Danfoss Silicon Power GmbH
1 Research Dr, Ste 300 I                              Husumer Straße 251
Greenville, SC 29607                                  Flensburg, Germany 24941

Craig Daigle                                          Daniel Bolia
[ADDRESS ON FILE]                                     7310 Hogarth St
                                                      Springfield, VA 22151
Crawford Electric Supply Co LLC
PO Box 847160                                         Daniel Han
Dallas, TX 75284                                      [ADDRESS ON FILE]

Crayon Software Experts LLC                           Dasung CoLtd
12221 Merit Dr, Ste 1400                              NamdongSeoro 370
Dallas, TX 75251                                      Namdong-gu
                                                      Republic of Korea 21629
Creative Wave GMBH
Rudolf- Diesel-Strasse.12                             Datadog Inc
Dachau, Germany 85221                                 620 8th Ave, 45th Fl
                                                      New York, NY 10018
Cross Design & Lighting Inc
6517 S Triple X Rd                                    DaVco Mechanical LLC
Choctaw, OK 73020                                     4248 E 96th St
                                                      Sperry, OK 74073
CrossMar Industrial North 100 LLC
2500 NE 11th St, Ste 300                              Daversa Partners
Bentonville, AR 72712                                 55 Greens Farms Rd, Fl 2
                                                      Westport, CT 06880
CT Corporation System
111 8th Ave                                           David Baker
New York, NY 10011                                    80 Willow St
                                                      Foxboro, MA 02035
Curve Engineering Solutions Ltd
Ste 5, Hagley Business Centre                         David C Weed
Hagley                                                1858 Emerald Lake Way
West Midlands United Kingdom DY9 9JW                  Bellingham, WA 98226

Cyberone LLC                                          David Kobrinetz
6851 Communications Pkwy                              5753 Desert View Dr
Plano, TX 75024                                       La Jolla, CA 92037

Cyle Briggs                                           David McAnally
[ADDRESS ON FILE]                                     1806 CR 16080
                                                      Deport, TX 75435
Cyntergy AEC LLC
810 S Cincinnati Ave, 2nd Fl                          David Park
Tulsa, OK 74119                                       6947 S Eaton Park Ct
                                                      Aurora, CO 80016
4912-9198-7725, v. 1
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                                                      Detroit Engineered Products Inc
Davis Gavsie & Hakim LLP                              850 E Long Lake Rd
100 Wilshire Blvd, Ste 700                            Troy, MI 48085
Santa Monica, CA 90401
                                                      DHL Express USA Inc
Davis Polk & Wardwell LLP                             16592 Collections Dr
450 Lexington Ave                                     Chicago, IL 60693
New York, NY 10017
                                                      Digikey
DC Safety Sales Co Inc                                PO Box 250
40 Commerce Dr                                        Thief River Falls, MN 56701
Hauppauge, NY 11788
                                                      Digital Media Innovations LLC
Debevoise & Plimpton LLP                              PO Box 74007143 (“Notified”)
919 Third Ave                                         c/o West Technology Group, LLC
New York, NY 10022                                    Chicago, IL 60674

Deborah Diaz                                          Diversified Machine Systems LLC
[ADDRESS ON FILE]                                     1068 Elkton Dr
                                                      Colorado Springs, CO 80907
Delaware Secretary of State
Franchise Tax Section                                 DJ Products Inc
401 Federal St                                        1009 4th St NW
Dover, DE 19902                                       Little Falls, MN 56345

Dell Marketing LP                                     DMG MORI USA Inc
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Dallas, TX 75267                                      Hoffman Estates, IL 60192

Deloitte & Touche LLP                                 DN Automotive USA Inc
PO Box 844708                                         24500 Northline Rd
Dallas, TX 75284                                      Taylor, MI 48180

Delta Dental of California                            Documation of DFW LLC
Attn: Accounts Receivable                             PO Box 1770
PO Box 84460                                          San Antonio, TX 78296
Los Angeles, CA 90088
                                                      Donohoe Advisory Associates LLC
DemandBlue                                            9801 Washingtonian Blvd, Ste 340
5 Corporate Pk, Ste 140                               Gaithersburg, MD 20878
Irvine, CA 92606
                                                      Dozuki
Denso International America Inc                       PO Box 1465
24777 Denso Dr                                        San Luis Obispo, CA 93406
Southfield, MI 48033
                                                      DSP Concepts Inc
Department of Industrial Relations                    3235 Kifer Rd, Ste 100
PO Box 511232                                         Santa Clara, CA 95051
Payment Processing Center
Los Angeles, CA 90051                                 dSPACE Inc
                                                      50131 Pontiac Tr
Derek Bentley                                         Wixom, MI 48393
[ADDRESS ON FILE]



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Duo-Form Plastics                                     Eller and Detrich
69836 Kraus Rd                                        2727 E 21st St, Ste 200
Edwardsburg, MI 49112                                 Tulsa, OK 74114

During Co LTD                                         Elliott Electric Supply Inc
No.512, 353, Namdong-daero,                           537 N 40th St
Namdong-gu                                            Springdale, AR 72762
Republic of Korea 21630
                                                      Ellsworth Adhesives
During Vietnam Co LTD                                 25 Hubble
Lot XN 1-1, Dai An Expantion                          Irvine, CA 92618
Industrial Zone Hai Duong
Hai Duong Vietnam 170000                              ELTEK International Labs
                                                      248 Hughes Ln
Durr Systems AG                                       St. Charles, MO 63301
Carl-Benz-Str. 34
Bietigheim-Bissingen, Germany 74321                   Embark Consulting LLC
                                                      2919 Commerce St, Ste 400
DUS Operating Inc                                     Dallas, TX 75226
1780 Pond Run
Auburn Hills, MI 48326                                EMCtools Armin Lenk
                                                      Meginhardstrasse 50
Duvaltex US Inc                                       Ostrach, Germany 88356
PO Box 206435
Dallas, TX 75320                                      Engineering USA
                                                      55 W Monroe St, Ste 2575
Dynatect Manufacturing Inc                            Chicago, IL 60603
PO Box 88709
Milwaukee, WI 53288                                   Enrique De Velasco
                                                      7 Clipper Rd, Apt A
EDAG Inc                                              Rancho Palos Verdes, CA 90275
1875 Research Dr, Ste 200
Troy, MI 48083                                        EntServ Deutschland GmbH
                                                      Schickardstr, 32 Boeblingen
EdgarAgents LLC                                       Germany 71034
PO Box 246
Hightstown, NJ 08520                                  Envisai Inc
                                                      6 Redwood Ct
Electrical Solutions of Oklahoma Inc                  Plainsboro, NJ 8536
PO Box 10948
Midwest City, OK 73140                                Envoy Inc
                                                      410 Townsend St, Ste 410
Electrify America LLC                                 San Francisco, CA 94107
1950 Opportunity
Reston, VA 20190                                      Epoxies LLC
                                                      21 Starline Way
Elite Electronic Engineering Inc                      Cranston, RI 2921
1516 Centre Cir
Downers Grove, IL 60515                               Equisolve Inc
                                                      3500 SW Corporate Pkwy
Elite Protection Services                             Ste 206
224 E Maini St, 1st Fl                                Palm City, FL 34990
Oklahoma City, OK 73104



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ERI Economic Research Institute Inc                   Express Employment Professionals
PO Box 3524                                           PO Box 203901
Seattle, WA 98124                                     Dallas, TX 75320

Eric Bauer                                            Exterior Systems Engineering, division
[ADDRESS ON FILE]                                     of Magna Exteriors America Holdings Inc
                                                      750 Tower Dr, Mail Code 5300
Eric Sand                                             Troy, MI 48098
[ADDRESS ON FILE]
                                                      EZ Building Services
Eric Smith                                            1309 Magnolia Blvd
[ADDRESS ON FILE]                                     Burbank, CA 91506

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PNC Bank                                              One Nexus Way
c/o Ernst & Young US LLP                              Camana Bay, Grand Cayman
3712 Solutions Ctr                                    Cayman Islands KY1-9005
Chicago, IL 60677
                                                      Fabrinet West Inc
ESG Advisor Group LLC                                 4900 Patrick Henry Dr
79 Bridge St, Apt 5F                                  Santa Clara, CA 95054
Brooklyn, NY 11201
                                                      Factiva Inc, a Dow Jones Company
ESI North America Inc                                 PO Box 30994
32605 W 12 Mike Rd #350                               New York, NY 10087
Farmington Hills, MI 48334
                                                      FactSet Research Systems Inc
ESPEC North America Inc                               PO Box 414756
4141 Central Pkwy                                     Reference # 9V172211
Hudsonville, MI 49426                                 Boston, MA 02241

eTrade Financial Corporate Services Inc               Faegre Drinker Biddle & Reath LLP
c/o Corp Tax Dept                                     NW 6139
671 N Glebe Rd                                        PO Box 1450
Arlington, VA 22203                                   Minneapolis, MN 55485

Eurofins TestOil                                      Fairchild Industries Inc
20338 Progress Dr                                     475 Capital Dr
Strongsville, OH 44149                                Lake Zurich, IL 60047

Evercore Group LLC                                    Fanuc America Corporation
PO Box 844233                                         Department 77-7986
Boston, MA 2284                                       Chicago, IL 60678

EvGateway Inc                                         Fastenal Company
5251 California Ave, Ste 150                          3761 5th Ave N
Irvine, CA 92617                                      Lethbridge, Canada T1H 5L4

Expert Technologies Group Inc                         Fastrak
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Auburn Hills, MI 48326                                San Francisco, CA 94105

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Dallas, TX 75320                                      Dallas, TX 75266
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Felix Haeusler
[ADDRESS ON FILE]                                     Freudenberg NOK Sealing Technologies
                                                      PO Box 73229
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PO Box 73307
Alsip, IL 60673                                       Fronius USA LLC
                                                      6797 Fronius Dr
Filtran LLC                                           Portage, IN 46366
26804 Network Pl
Chicago, IL 60673                                     Frontier Communications
                                                      PO Box 740407
Fisher & Phillips LLP                                 Cincinnati, OH 45274
PO Box 840703
Los Angeles, CA 90084                                 Fuzhou Fushiang Motor Industrial Co Ltd
                                                      No. 2 Hongxi Rd,
Fisher Scientific Company LLC                         Qingkou Investment Zone
300 Industry Dr                                       Fuzhou, China 350119
Pittsburgh, PA 15275
                                                      FWU JIH Die Casting Industrial Co Ltd
Flexible Circuit Technologies Inc                     No. 1, Lane 38, Chung-E 1st St,
9850 51st Ave N                                       Rende District
Plymouth, MN 55442                                    Tainan City, Taiwan 71753

Flexpipe Inc                                          Gaetano Hirshout
33 Racine St                                          3 Rose Petal Dr
Farnham, Canada J2N 3A3                               Saint Helena Island, SC 29920

Fluke Electronics Corporation                         Gamma Technologies LLC
7272 Collection Center Dr                             601 Oakmont Ln, Ste 220
Chicago, IL 60693                                     Westmont, IL 60559

Foley & Lardner LLP                                   Garit Lesicko
777 E Wisconsin Ave                                   [ADDRESS ON FILE]
Milwaukee, WI 53202
                                                      Garrett Andrews
Fox Factory Inc                                       28733 Eridanus Dr
2055 Sugarloaf Cir, Ste 300                           Sun City, CA 92586
Duluth, GA 30097
                                                      Gary Dunagan
FPLUK Freight Products UK LTD                         217 Steep Hill Dr
Unit 2, 106 Hawley Ln                                 Swansboro, NC 28584
Farnborough, Hampshire
United Kingdom GU14 8JE                               Gauntlett & Associates
                                                      5 Pelican Vista Dr
FPS Technologies Inc                                  Newport Coast, CA 92657
PO Box 14780
Oklahoma City, OK 73113                               GE Schmidt Inc
                                                      11236 Williamson Rd
Franchise Tax Board                                   Cincinnati, OH 45241
PO Box 942857
Sacramento, CA 94257                                  General Datatech LP
                                                      999 Metromedia Pl
Frantz Ward LLP                                       Dallas, TX 75247
200 Public Sq, Ste 3000
Cleveland, OH 44114
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Gentex Corporation                                    Grupo Antolin Tanger
600 N Centennial                                      Zone Franche d’Exportation de Tanger
Zeeland, MI 49464                                     Ilot nº 22B et 21 Tanger
                                                      Morocco 900090
Giffin Inc
1900 Brown Rd                                         HackerRank
Auburn Hills, MI 48326                                700 E El Camino Real, Ste 300
                                                      Mountain View, CA 94040
Gigavac LLC
6382 Rose Ln                                          Hamed Majeed
Carpinteria, CA 93013                                 355 Wood Creek Rd
                                                      Apt 502
Glenn Coffee and Associates PLLC                      Wheeling, IL 60090
915 N Robinson Ave
Oklahoma City, OK 73102                               Hamilton Clark Sustainable Capital Inc
                                                      1701 Pennsylvania Ave NW, Ste 200
Global Retool Group America LLC                       Washington, DC 20006
7290 Kensington Rd
Brighton, MI 48116                                    Hanon Systems Dalian Co Ltd
                                                      No. 89 HuaiHe Rd
Globe Capital Partners GmbH                           Dalian ETDZ 116620 Dalian, China
Königstraße, 1A Stuttgart
Germany 70173                                         Hanwha Advanced Materials Mexico
                                                      Av. Tecnologi No. 1345 Centro
Graebel Relocation Svcs Worldwide Inc                 Fraccionamiento Monterrey Technology Pk
16346 E Airport Cir                                   Cienega de Flores, Nuevo Leon Mexico 65550
Aurora, CO 80011
                                                      Harness Inc
Grand River Dam Authority                             55 Stockton St
PO Box 669                                            San Francisco, CA 94108
Chouteau, OK 74337
                                                      Hatch Stamping Company LLC
Granite Recruitment & Consulting Pty Ltd              635 E Industrial Dr
Queen Street, Level 7                                 Chelsea, MI 48118
Melbourne, Victoria Australia 3000
                                                      Hawk Ridge Systems LLC
Ground Effects LLC                                    575 Clyde Ave, Ste 420
7000 19 Mike Rd                                       Mountain View, CA 94043
Sterling Heights, MI 48314
                                                      HD Supply Inc
Gruntwork Inc                                         PO Box 404468
221 E Indianola Ave                                   Atlanta, GA 30384
Phoenix, AZ 85012
                                                      Hella Electronics Corporation
Grupo Antolin North America Inc                       PO Box 5122
1700 Atlantic Blvd                                    Carol Stream, IL 60197
Auburn Hills, MI 48326
                                                      Hendrickson Composite Dayton LLC
Grupo Antolin Plasbur SA                              PO Box 7410228
c/Lopez Bravo                                         Chicago, IL 60674
52 (Antiguas Naves Michelin)
Naves Atlas Pol. Ind. Villalonquéjar                  Herb Gilliland
09001, Burgos, Castillia Spain 9001                   300 Freeport Rd
                                                      New Kensington, PA 15068

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Hesai Technology Co Ltd                               Hugg and Hall Equipment Company
3500 W Bayshore Rd                                    PO Box 194110
Palo Alto, CA 94303                                   Little Rock, AR 72219

Hexagon Manufacturing Intelligence Inc                Humanetics Digital North America Inc
PO Box 749424                                         598 Airport Blvd, Ste 600
Atlanta, GA 30374                                     Morrisville, NC 27560

Highly Marelli USA Inc                                Humanetics Innovative Solutions
305 Stanley Blvd                                      23300 Haggerty Rd
Bldg 2                                                Farmington Hills, MI 48335
Shelbyville, TN 37160
                                                      Hwaseung R&A COLTD
Hilti Inc                                             1150 Stephenson Hwy
PO Box 70299                                          Troy, MI 48083
Philadelphia, PA 19176
                                                      Hy Vac Technologies Inc
Historit Ltd                                          15701 Glendale
Bldg 108 Bicester Heritage                            Detroit, MI 48227
Buckingham Road Bicester
Oxfordshire United Kingdom OX27 8AL                   Hyundai Mobis Co Ltd
                                                      203 Teheran-ro, SI Tower
Hogan Lovells US LLP                                  Yeoksam-dong Gangnam-gu
PO Box 715890                                         Republic of Korea 6141
Philadelphia, PA 19171
                                                      I-40 OKC Partners LLC
Horiba Instruments Incorporated                       9528 W I-40 Service Rd
9755 Research Dr                                      Oklahoma City, OK 73128
Irvine, CA 92618
                                                      IA Engineers Inc
Horiba MIRA Ltd                                       1200 S Brand Blvd #227
Watling St, Nuneaton                                  Glendale, CA 91204
Warwickshire United Kingdom CV10 0TU
                                                      Iconic Technical Solutions LLC
Hornet Cutting Systems LLC                            4410 Ottawa Tr
PO Box 500                                            Johannesburg, MI 49751
Valley Center, KS 67147
                                                      IDIADA Automotive Technology UK Ltd
Hottinger Bruel and Kjaer Inc                         St Georges Way
19 Bartlett St                                        Bermuda Industrial Estate Nuneaton
Marlborough, MA 01752                                 Warwickshire United Kingdom CV10 7JS

HP INC                                                Idneo Technologies SAU
PO Box 742881                                         Carrer Rec de Dalt, 3,
Los Angeles, CA 90074                                 Mollet del Vallès Spain 8100

HRMS Solutions Inc                                    IHS Global Inc
941 Grant Pl                                          PO Box 911501
Boulder, CO 80302                                     Denver, CO 80291

HSI Workplace Compliance Solutions Inc                Illinois Tollway
PO Box 809321                                         PO Box 5544
Chicago, IL 60680                                     Chicago, IL 60680



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Illinois Tool Works Inc                               InterRegs Ltd
PO Box 75289                                          21-23 East St
75 Remittance Dr                                      Fareham, Hampshire
Chicago, IL 60675                                     United Kingdom PO16 0BZ

In-Charge Energy Inc                                  Intertek Testing Services NA Inc
1433 5th St                                           PO Box 405176
Santa Monica, CA 90401                                Atlanta, GA 30384

InDepth Engineering Solutions LLC                     Inteva Products LLC
850 Stephenson Hwy, Ste 322                           300 Sipingshan Rd
Troy, MI 48083                                        Dingmao Zhenjiang China 212009

Industrial Metal Supply Co                            Intralinks Inc
301 Main St                                           685 Third Ave, 9th Fl
Riverside, CA 92501                                   New York, NY 10017

Infinite Equity Inc                                   Intrepid Control Systems Inc
3663 Folsom St                                        31601 Research Park Dr
San Francisco, CA 94110                               Madison Heights, MI 48071

Inkbit LLC                                            IPFS Corporation
1 Cabot Rd, Ste 400                                   1055 Broadway, 11th Fl
Medford, MA 02155                                     Kansas City, MO 64105

Insight Direct USA Inc                                IPG Automotive USA Inc
PO Box 731069                                         1350 Highland Dr, Ste F
Dallas, TX 75373                                      Ann Arbor, MI 48108

Integrated Micro Electronics Inc                      Isaac Renova
North Science Avenue Laguna Technopark                1966 Tice Valley Blvd #116
Special Export Processing Zone                        Lafayette, CA 94595
Binan, Laguna Philippines 4024
                                                      Isaias Ramirez
Integrated Micro-Electronics Mexico                   [ADDRESS ON FILE]
SAPI DE CV
Calle 4 Poniente #10560                               Israel Esquivel
Parque Industrial                                     [ADDRESS ON FILE]
El Salto, Jalisco Mexico 45680
                                                      J J Keller & Associates Inc
Intellicosting LLC                                    3003 Breezewood Ln
980 Chicago Rd                                        PO Box 368
Troy, MI 48083                                        Neenah, WI 54957

Intelligent Optical Systems                           JAC auto parts (Ningbo) Co Ltd
19601 Mariner Ave                                     No. 30 Xingshun Rd, Sino-Italy
Torrance, CA 90503                                    Ningbo Ecological Park
                                                      Ningbo, China 315475
Interface Inc
7401 E Butherus Dr                                    Jacqueline LaBoube
Scottsdale, AZ 85260                                  [ADDRESS ON FILE]

                                                      Jahn Engineering Ltd
                                                      5040 O'Neil Dr
                                                      Oldcastle, Canada N0R 1L0
4912-9198-7725, v. 1
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Jason Steele                                          KEYPER SYSTEMS
726 Locust St                                         5679 Harrisburg Ind Park Dr
Aurora, CO 80220                                      Harrisburg, NC 28075

JB Hunt Transport Inc                                 Kimball Midwest
PO Box 847977                                         4800 Roberts Rd
Dallas, TX 75284                                      Bexley, OH 43228

Jesse Cabral                                          Kirkland & Ellis LLP
[ADDRESS ON FILE]                                     300 N LaSalle
                                                      Chicago, IL 60654
Jing-Jin Electric North America LLC
34700 Grand River Ave                                 Kistler Instrument Corporation
Farmington Hills, MI 48335                            75 John Glenn Dr
                                                      Amherst, NY 14228
Jobplex
71 S Wacker Dr, Ste 2700                              Krayden Inc
Alsip, IL 60606                                       2611 S Harbor Blvd
                                                      Santa Ana, CA 92704
Joe Carlson Studio Inc
2022 Edgewood Dr                                      Kuka Robotics UK Ltd
S Pasadena, CA 91030                                  Great Western St
                                                      Wednesbury, West Midlands
Joyson Safety Systems Acquisition LLC                 United Kingdom WS10 7LL
2500 Innovation Dr
Auburn Hills, MI 48326                                Kyung Chang Technology Jiang Yin Co LTD
                                                      No 32, Huangang XI Rd
JVIS-USA LLC                                          Wuxi, China 214446
PO Box 530
Mount Clemens, MI 48046                               Kyungshin Cable International Corporation
                                                      Parcela #101 Poligono 1 Fracc.3
K2 Discovery                                          Gomex Palacio
9903 Santa Monica Blvd                                Durango Mexico CP 35120
Ste 637
Beverly Hills, CA 90212                               L&T Technology Services Limited
                                                      2035 Lincoln Hwy, Ste 3002
Kasai North America Inc                               Edison, NJ 08817
1200 Volunteer Pkwy
Manchester, TN 37355                                  LA CNC INC
                                                      4529 San Fernando Rd
Katherine Cox                                         Ste E
101 Belknap St                                        Glendale, CA 91204
Dover, NH 03820
                                                      LABPRESA LLC
KCMO City Treasurer                                   1445 E Madison St, Dept 357
PO Box 801751                                         Brownsville, TX 78520
Kansas City, MO 64180
                                                      Laird Thermal Systems Inc
Ken Manget                                            100 W 33rd St
[ADDRESS ON FILE]                                     Bowling Green, NY 10001

Kevin Farbowich                                       Lance Ramsay
[ADDRESS ON FILE]                                     3006 College St SE
                                                      Lacey, WA 98503

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Law Office of Daniel F Wachtell                       Lone Star Truck & Truck Services
90 Broad St, 23rd Fl                                  10211 FM 156
New York, NY 10004                                    Fort Worth, TX 76131

Lee Contracting Inc                                   Lonnie Golden
631 Cesar E. Chavez                                   [ADDRESS ON FILE]
Pontiac, MI 48342
                                                      Los Angeles County Tax Collector
Legend Fleet Solutions                                PO Box 54027
56957 Hwy 3                                           Los Angeles, CA 90054
Tillsonburg, Canada N4G4G8
                                                      Lucid Software Inc
LHi Group Inc                                         17239, 5505 N Cumberland Ave
123 William St, 14th Fl                               Ste 307
New York, NY 10038                                    Chicago, IL 60656

Life Insurance Co of North America                    Lumen
1601 Chestnut St                                      1025 Eldorado Blvd
Two Liberty Pl                                        Broomfield, CO 80021
Philadelphia, PA 19192
                                                      Luxion Inc
Lightguide Inc                                        15143 Woodlawn Ave
48443 Alpha Dr, Ste 175                               Tustin, CA 92780
Wixom, MI 48393
                                                      Lyseon North America Inc
Link Engineering Company                              1110 W Tenkiller Rd
401 Southfield Rd                                     Catoosa, OK 74015
Dearborn, MI 48120
                                                      Mac Tools
Link Vehicle Testing Inc                              5195 Blazer Pkwy
43855 Plymouth Oaks Blvd                              Pittsburgh, PA 15251
Plymouth, MI 48170
                                                      Macauto Mexico SA de CV
LinkedIN Corporation                                  Circuito Paseo de las Colinas 301
62228 Collections Center Dr                           Leon, GTO Mexico 37668
Chicago, IL 60693
                                                      Madhuri Ghodekar
Lipik Glas                                            37167 Panton Terr, Apt 2007
Staklanska 4, Lipik, Croatia 34551                    Fremont, CA 94536

Litera                                                Magid Glove & Safety Mfg Co LLC
550 W Jackson Blvd, Ste 200                           PO Box 95081
Chicago, IL 60661                                     Chicago, IL 60649

Littler Mendelson PC                                  Magna Exteriors (Liverpool) Limited
PO Box 207137                                         Renaissance Way
Dallas, TX 75320                                      Blvd Industry Park Liverpool
                                                      Merseyside United Kingdom L24 9PL
Lockton Companies
Lockton-Dunning Series of                             Magna International Holding (UK) Limited
Lockton Companies, LLC                                Beaumont Rd, Banbury
Dept 3042                                             Oxfordshire United Kingdom OX16 1TR
PO Box 123042
Dallas, TX 75312

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Magna International Inc                               Matrix Material Handling Inc
337 Magna Dr                                          PO Box 20870
Aurora, Canada L4G 7K1                                Oklahoma City, OK 73156

Magna-Power Electronics Inc                           Matt Howard
39 Royal Rd                                           [ADDRESS ON FILE]
Flemington, NJ 08822
                                                      Matthew Chott
Magnetic Instrumentation Co LLC                       [ADDRESS ON FILE]
8431 Castlewood Dr
Indianapolis, IN 46250                                Mayco International LLC
                                                      42400 Merill Rd
Magnum Construction Inc                               Sterling Heights, MI 48314
PO Box 707
Broken Arrow, OK 74013                                Maynards Industries USA LLC
                                                      17177 N Laurel Park Dr, Ste 236
Marelli North America Inc                             Livonia, MI 48152
Marelli Mexicana SA de CV
AVE San Fransisco                                     McBride Orthopedic Hospital
401 Aguascalientes                                    Occupational Medicine
San Francisco de los Romo                             PO Box 268921
Mexico C.P. 20304                                     Oklahoma City, OK 73126

Mark Ritter                                           McKinsey & Company Inc
1459 Morgan Ct                                        PO Box 7247-7255
Steamboat Springs, CO 80487                           Philadelphia, PA 19170

Marlon Blackwell Architects PA                        McMaster-Carr Supply Company
42 E Center St                                        PO Box 7690
Fayetteville, AR 72701                                Chicago, IL 60680

Marquardt Switches Inc                                McSpadden Milner Robinson LLC
PO Box 10713                                          901 N Lincoln Blvd, Ste 380
Albany, NY 12201                                      Oklahoma City, OK 73104

Marsh USA Inc                                         MDA US LLC
PO Box 846015                                         PO Box 91683435
Dallas, TX 75284                                      Chicago, IL 60691

Martin Container Inc                                  Mercer US Inc
PO Box 185                                            PO Box 730212
Wilmington, CA 90748                                  Dallas, TX 75373

Matco Tools Corporation                               Meta System SPA
4403 Allen Rd                                         Via T. Galimberti 5
Stow, OH 44224                                        Reggio Emilia, Italy 42124

Materialise USA LLC                                   Metalbuilt
9450 SW Gemini Dr                                     50171 E Russell Schmidt Blvd
PMB 71948                                             Chesterfield, MI 48051
Beaverton, OR 97006
                                                      MetLife Legal Plans Inc
Matheson TriGas Inc                                   Dept 781523
Dept LA 23793                                         PO Box 78000
Pasadena, CA 91185                                    Detroit, MI 48278
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                                                      Mobase Electronics Co Ltd
Metrican Stamping LLC                                 Tercera Avenida Lote 12
101 Warren G Medley Dr                                Apodaca, Nuevo Leon Mexico 66600
Dickson, TN 37055
                                                      Mobile Mini Inc
Metro ExpressLanes                                    dba Mobile Mini Storage Solutions
PO Box 3339                                           PO Box 91975
Gardena, CA 90247                                     Chicago, IL 60693

MGA Research Corporation                              Mobis North America LLC
12790 Main Rd                                         46501 Commerce Center Dr
Akron, NY 14001                                       Plymouth, MI 48170

Michael Beynart                                       Mohan Surapaneni
[ADDRESS ON FILE]                                     1627 North Lake Dr
                                                      Troy, MI 48083
Michael McConnell
[ADDRESS ON FILE]                                     Morrow Sodali LLC
                                                      470 West Ave, 3rd Fl
Michigan Custom Machines LLC                          Stamford, CT 06902
22750 Heslip Dr
Novi, MI 48375                                        Morse Measurements LLC
                                                      1163 Speedway Blvd
Michigan Scientific Corp                              Salisbury, NC 28146
730 Bellevue Ave
Milford, MI 48381                                     Motion Automated Intelligence
                                                      PO Box 7410119
Micro Quality Calibration Inc                         Chicago, IL 60674
9168 De Soto Ave
Chatsworth, CA 91311                                  Motor City Racks Inc
                                                      Carr. Francisco Zarco KM. 61.5, S/N C.P.
MidAmerica Industrial Park                            Durango, Mexico 34431
PO Box 945
Pryor, OK 74362                                       Motorsports Electronics
                                                      2554 Vía Tejon
Mid-West Hose & Specialty Inc                         Palos Verdes Estates, CA 90274
3312 S I-35 Service Rd
Oklahoma City, OK 73129                               Mouri Tech LLC
                                                      1183 W John Carpenter Fwy
Miguel Leon Olmedo                                    Irving, TX 75039
4256 W 182nd St
Torrance, CA 90504                                    MP Industrial
                                                      4713 S Washington St
Mineral Inc                                           Tacoma, WA 98409
PO Box 201066
Dallas, TX 75320                                      MPS Controls Inc
                                                      100 Oxmoor Rd, Ste 100
Misty Burdick                                         Birmingham, AL 35209
[ADDRESS ON FILE]
                                                      MSC Direct
MISUMI USA                                            MSC Industrial Supply Co
26797 Network Pl                                      PO Box 953635
Chicago, IL 60673                                     Saint Louis, MO 63195



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MSK Industrial Services LLC                           Nexen Corporation
254 Chapman Rd, Ste 208                               291, Daedongwolpo-ro
Newark, DE 19702                                      Daehap-myeon, Changnyeong-gun, 50307
                                                      Changnyeong-gun, Gyeongsangnam-do
MSSC US INC                                           Republic of Korea 50307
Dept 77206
PO BOX 77000                                          Next Step Innovation
Detroit, MI 48277                                     703 Hwy 80 W
                                                      Clinton, MS 39056
Mullenix & Associates LLC
501 Woodlane, Ste 105                                 Nextsense Inc
Little Rock, AR 72201                                 3350 Riverwood Pkwy, Ste 1900
                                                      Atlanta, GA 30339
Muller Textiles Inc
2199 Spur 239                                         Ningbo Xusheng Group Co LTD
Del Rio, TX 78840                                     68 Yanshanhe South Rd
                                                      Ningbo, China 315806
Munck Wilson Mandala LLP
12770 Coit Rd, Ste 600                                NMB Technologies Corporation
Dallas, TX 75250                                      9730 Independence Ave
                                                      Chatsworth, CA 91311
MX Electronics Manufacturing Inc
1651 E St, Andrew Place                               North Texas Tollway Authority
Santa Ana, CA 92705                                   PO Box 660244
                                                      Dallas, TX 75266
My Equity Comp LLC
2339 Gold Meadow Way, Ste 210                         Notion Labs Inc
Gold River, CA 95670                                  2300 Harrison St, Fl 2
                                                      San Francisco, CA 94110
N H Research Incorporated
16601 Hale Ave                                        Novares US LLC
Irvine, CA 92606                                      19575 Victor Pkwy, Ste 400
                                                      Livonia, MI 48152
Nasdaq Inc
151 W 42nd St                                         NRTC Alabama Inc
New York, NY 10036                                    124 Carson Rd
                                                      Center Point, AL 35215
National Instruments Corporation
11500 N Mopac Expwy                                   Oasys Ltd
Austin, TX 78759                                      8 Fitzroy St,
                                                      London, United Kingdom W1T 4BJ
National Material Company LLC
1965 Pratt Blvd                                       Occupational Health Ctr of California
Arlington Heights, IL 60004                           PO Box 3700
                                                      Rancho Cucamonga, CA 91729
Nesbitt Building Maintenance Inc
7348 Blvd 26                                          Oetiker NY Inc
Richland Hills, TX 76180                              PO Box 74007134
                                                      Chicago, IL 60674
NetCentra Inc
556 Riverdale Dr, Unit A                              OG&E
Glendale, CA 91204                                    PO Box 24990
                                                      Oklahoma City, OK 73124



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Oklahoma Business Roundtable                          OSC Globe
655 Research Pkwy, Ste 420                            Kunlun Rd#11
Oklahoma City, OK 73104                               Xinbei, Jiangsu, China 330012

Oklahoma Natural Gas                                  Oscar Francis
PO Box 219296                                         1537 SE Blockton Ave
Kansas City, MO 64121                                 Fort Pierce, FL 34952

Oklahoma Turnpike Authority                           Osirius Group LLC
PO Box 11255                                          725 South Adams Rd, Ste 205
Oklahoma City, OK 73136                               Birmingham, MI 48009

OneTrust LLC                                          Otis Elevator Company
1200 Abernathy Rd, Ste 700                            PO Box 73579
Atlanta, GA 30328                                     Chicago, IL 60673

Onix Networking Corp                                  Oxford Global Resources LLC
PO Box 74184                                          900 Cummings Ctr, Ste 326T
Cleveland, OH 44194                                   Beverly, MA 01915

OpenPath Security Inc                                 P & A CO LTD
13428 Maxella Ave #866                                Golden House
Marina Del Rey, CA 90292                              30 Pottinger Street
                                                      Hong Kong
OpenSynergy GmbH
Rotherstr. 20                                         PAC Project Advisors International Ltd
Berlin, Germany 10245                                 755 W Big Beaver Rd, Ste 1875
                                                      Troy, MI 48084
OPTIMAS OE SOLUTIONS LP
2651 Compass Rd                                       PagerDuty Inc
Glenview, IL 60026                                    600 Townsend St, Ste 125
                                                      San Francisco, CA 94103
Oracle America Inc
PO Box 412622                                         Pahoa Express Inc
Boston, MA 02241                                      38151 Groesbeck Hwy
                                                      Clinton Township, MI 48036
Orange Coast Pneumatics Inc
3810 Prospect Ave, Unit A                             Patrick Honeyman
Yorba Linda, CA 92886                                 [ADDRESS ON FILE]

Orion Industries                                      Paul Elachkar
5492 N Northwest Hwy                                  [ADDRESS ON FILE]
Chicago, IL 60630
                                                      Paul Hastings LLP
Orion Security Solutions LLC                          515 S Flower St, Ste 2500
16232 Muirfield Pl                                    Baldwin Hills, CA 90071
Edmond, OK 73013
                                                      Paul Weiss Rifkind Wharton & Garrison LLP
Orkin LLC                                             1285 Avenue of the Americas
PO Box740300                                          New York, NY 10019
Cincinnati, OH 45274
                                                      Paylogix fbo Nationwide
Orrick Herrington & Sutcliffe LLP                     PO Box 50020
PO Box 848066                                         Newark, NJ 07101
Los Angeles, CA 90084
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Pearl Engineered Solutions Pte Ltd                    Prettl Lighting & Interior de Mexico
109/519 Moo 7 Tumbol Klongsong                        CARRETERA LIBRE A CELAYA KM 8.6
Amphua Klongluang                                     Zona Industrial Balvanera Corregidora
Pathumthani, 12120 Thailand                           Queretaro Mexico 76908

People 20 Belgium BV                                  Prime Capital Investment Advisors LLC
Bredestraat 4, Antwerp, Belgium 2000                  6201 College Blvd, 7th Fl
                                                      Overland Park, KS 66211
Perforce Software Inc
Programming Research Ltd                              Prime Wheel
PO Box 742263                                         17705 S Main St
Los Angeles, CA 90074                                 Gardena, CA 90248

Pit-Andre Stoldt                                      Principal Aviation
414 N Broadway                                        50 N Laura St, Ste 2500
Redondo Beach, CA 90277                               Jacksonville, FL 32202

Plasmatreat USA Inc                                   Principal Manufacturing Corporation
2541 Technology Dr, Ste 407                           2800 S 19th Ave
Elgin, IL 60124                                       Broadview, IL 60155

Plastiques du Val de Loire                            Production Modeling Corporation
Zone Industrielle Nord                                15726 Michigan Ave
1 route de la Retaudière                              Dearborn, MI 48126
BP 38 Langeais, France 37130
                                                      Project Experts 360 LLC
Pliant Plastics Corporation                           5718 Westheimer Rd, Ste 1000
17000 Taft Rd                                         Office 36
Spring Lake, MI 49456                                 Houston, TX 77057

Polycon Industries                                    Pryor Waste & Recycling
A Division of Magna Exteriors                         PO Box 806
65 Independence Pl                                    Pryor, OK 74362
PL-Guelph, Canada N1K 1H8
                                                      PTC Inc
Polymer Process Development LLC                       121 Seaport Blvd
11969 Shelby Tech Dr                                  Boston, MA 02210
Shelby Township, MI 48315
                                                      Puretec Industrial Water
Potter Anderson & Corroon LLP                         3151 Sturgis Rd
1313 N Market St, 6th Fl                              Oxnard, CA 93030
Wilmington, DE 19801
                                                      Quality Air & Lift
Practicing Law Institute                              PO Box 137462
1177 Avenue of the Americas                           Fort Worth, TX 76136
New York, NY 10036
                                                      Quality Metalcraft Inc
Precision Measuring Corp                              12001 Farmington Rd
PO Box 26118                                          Livonia, MI 48150
Fraser, MI 48026
                                                      Quality Steel Products Inc
Presidio Networked Solutions Group LLC                4978 Technical Dr
PO Box 822169                                         Milford, MI 48381
Philadelphia, PA 19182

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Quest Global Services Pte Ltd                         Redline Detection LLC
7 Temasek Boulevard                                   828 W Taft Ave
09-04 Suntec Tower One                                Orange, CA 92865
Singapore 038 987
                                                      Republic Services
R&E Automated Systems                                 PO Box 713502
70701 Powell Rd                                       Chicago, IL 60677
Bruce Twp, MI 48065
                                                      Rescale Inc
Radcliffe Coleman                                     33 New Montgomery St
[ADDRESS ON FILE]                                     Ste 950
                                                      San Francisco, CA 94105
Raj Somaiya
[ADDRESS ON FILE]                                     Revchem Composites Inc
                                                      2720 S Willow Ave, #B
Ram Die Corporation                                   Bloomington, CA 92316
2980 3 Mile Rd NW
Grand Rapids, MI 49534                                Rewired Festival LLC
                                                      3435 Ocean Park Blvd, Ste 107-628
Ranger Design Inc                                     Santa Monica, CA 90405
20600 Clark-Graham
Montreal, Canada H9X 4B6                              Rexel USA Inc
                                                      PO Box 840638
Rapid Axis LLC                                        Dallas, TX 75284
1482 Oddstad Rd
Redwood City, CA 94063                                Rexford Industrial
                                                      PO Box 740028
Rapid Fit NV                                          Los Angeles, CA 90074
Technologielaan 15
Leuven, Belgium 3001                                  Rhino Linings Corporation
                                                      9747 Business Park Ave
Rapid Global Business Solutions Inc                   San Diego, CA 92131
1200 Stephenson Hwy
Troy, MI 48083                                        Richard Beach
                                                      18214 N 18th St
Rawlings Mechanical Corp                              Phoenix, AZ 85022
11615 Pendleton St
Sun Valley, CA 91352                                  Richards Layton & Finger PA
                                                      920 N King St
Raymond O'Bryan                                       Wilmington, DE 19801
5115 Excelsior Blvd #208
Blaine, MN 55416                                      River Point Technology LLC
                                                      1700 Ashwood Dr, Ste 1704
RCO Engineering Inc                                   Canonsburg, PA 15317
45601 Five Mile Rd
Plymouth, MI 48170                                    RMAGS GmbH
                                                      Nikolaus-Becker-Str. 79
Real-Time Innovations Inc                             Ober-Olm, Germany 55270
232 E Java Dr
Sunnyvale, CA 94089                                   Robert Lessler
                                                      45 Lupine Way
Redall Industries Inc                                 Sacramento, CA 95819
Drawer 2448
PO Box 5935
Troy, MI 48007
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Robinson Investments LTD                              SAE International
PO Box 508                                            PO Box 645959
Bellefontaine, OH 43311                               Pittsburgh, PA 15264

Rosenberger GmbH & Co                                 Safety Kleen Systems Inc
KG BURG 9                                             PO Box 975201
Tittmoning, Germany D-84529                           Dallas, TX 75397

Rosenberger North America Akron LLC                   Sakthi Sambandam
309 Colonial Dr                                       [ADDRESS ON FILE]
Akron, PA 17501
                                                      Sales Forcecom Inc
Ross Aronstam & Moritz LLP                            PO Box 203141
1313 N Market St, Ste 1001                            Dallas, TX 75320
Wilmington, DE 19801
                                                      Sandvik Coromant
RPM Freight Systems LLC                               1483 Dogwood Way
120 S LaSalle                                         Mebane, NC 27302
Chicago, IL 60603
                                                      Sanmina Corporation
RS Americas                                           PO Box 842162
RS Components Ltd                                     Dallas, TX 75284
PO Box 841811
Dallas, TX 75284                                      Saratech Inc
                                                      32932 Pacific Coast Hwy #14-429
RS                                                    Dana Point, CA 92629
7151 Jack Newell Blvd S
Fort Worth, TX 76118                                  Say Technologies LLC
                                                      85 Willow Rd
RSM US LLP                                            Menlo Park, CA 94025
5155 Paysphere Cir
Chicago, IL 60674                                     Scan Global Logistics
                                                      PO Box 7410684
Rumpke Waste & Recycling                              Chicago, IL 60674
PO Box 538710
Cincinnati, OH 45253                                  Scan Global Logistics
                                                      1560 West 190th Street
Russell Brown                                         Torrance, CA 90501
14621 Country Lake Dr
Pineville, NC 28134                                   Schenck USA Corp
                                                      1846 Reliable Pkwy
Rutuja Shivarkar                                      Chicago, IL 60686
[ADDRESS ON FILE]
                                                      Scheugenpflug Inc
Ruturaj Shailesh Chandane                             1000 Cobb Place Blvd, Ste 514
[ADDRESS ON FILE]                                     Kennesaw, GA 30144

S & P Global                                          Schwab Industries Inc
Ropemaker Place, 4th Fl                               50850 Rizzo Dr
25 Ropemaker St                                       Shelby Township, MI 48315
London, United Kingdom EC2Y 9LY
                                                      Scott Beatty
Sackin Metals Inc                                     [ADDRESS ON FILE]
15201 Transistor Ln
Huntington Beach, CA 92649
4912-9198-7725, v. 1
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Scott Butler                                          Siddharth Das
7342 Promenade Cir                                    [ADDRESS ON FILE]
Cottonwood Heights, UT 84121
                                                      Sidley Austin LLP
SEA Ltd                                               PO Box 0642
PO Box 932837                                         Chicago, IL 60690
Cleveland, OH 44193
                                                      Siemens Industry Software Inc
SEIREN Viscotec Mexico SA DE CV                       PO Box 2168
Av. Miguel Hidalgo 200 Carr.                          Carol Stream, IL 60132
Federal 90 km 36+125
Abasolo, Guanajuato Mexico 36987                      Sika Corporation
                                                      23868 Network Pl
SEKONIX Co Ltd                                        Chicago, IL 60673
28 Pyeonghwa-ro 2862beon-gil
Dongducheon-si                                        Silicon Valley Bank
Republic of Korea 11307                               3003 Tasman Dr
                                                      Santa Clara, CA 95054
Seyfarth Shaw LLP
233 S Wacker Dr, Ste 8000                             Orgin Bank
Chicago, IL 60606                                     3838 Oak Lawn
                                                      Dallas, TX 75219
SGL Composites GmbH
201 Technology Dr                                     Wells Fargo
Arkadelphia, AR 71923                                 420 Montgomery St
                                                      San Francisco, CA 94104
Shanghai Redstart Technology Co Ltd
Room 1202 No 6                                        Simmons & Simmons LLP
No 2989 Gonghexin Rd                                  CityPoint, 1 Ropemaker St
Shanghai, China 200072                                London United Kingdom EC2Y 9SS

Sharp Tooling Solutions LLC                           Simone Ocvirk
70745 Powell Rd                                       15318 Osage Ave
Romeo, MI 48065                                       Lawndale, CA 90260

Shenzhen LT Century Prototype Co Ltd                  Sitrick Group LLC
2F, 3rd Bldg Jinyuda Industrial Park                  11999 San Vicente Blvd
Shangliao Business Rd                                 Penthouse
Shajing, Shenzhen, China 518125                       Los Angeles, CA 90049

Sherfab Unlimited Inc                                 Sixxon Precision Machinery Coltd
1740 E Monticello Ct                                  No. 6 Yu 3rd Rd
Ontario, CA 91761                                     Youth Industrial Park
                                                      Taoyuan City, Taiwan 32661
Shibaura Electronics of America Corp
39555 Orchard Hill Pl, Ste 435                        SKT Security Inc
Novi, MI 48375                                        PO Box 300047
                                                      Midwest City, OK 73140
Shubham Mohite
[ADDRESS ON FILE]                                     Skyya LLC
                                                      12800 Whitewater Dr, Ste 100
SHW Automotive Pumps (Kunshan) Co Ltd                 Eden Prairie, MN 55343
No. 369, Yuyang Rd
Suzhou, China 215300

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Smart Manufacturing Technology Ltd                    Staples Contract & Commercial LLC
Wilford House, 1 Clifton Ln Nottingham                PO Box 660409
Nottinghamshire, United Kingdom NG11 7AT              Dallas, TX 75266

Smithers Rapra Inc                                    Starglass
425 W Market St                                       Avenida del Ebro 58
Akron, OH 44303                                       Polígono Ind. El Sequero
                                                      Agoncillo, Spain 26509
Snap-On Credit LLC
950 Technology Way, Ste 301                           Steammart
Libertyville, IL 60048                                2801 N Meridian Ct
                                                      Oklahoma City, OK 73127
SoCalGas
PO Box C                                              Stephen Company
Monterey Park, CA 91756                               1127 11th St, Ste 210
                                                      Sacramento, CA 95814
South Coast Air Quality Management
PO Box 4943                                           Stephen Gould Corporation
Diamond Bar, CA 91765                                 PO Box 419816
                                                      Boston, MA 2241
Southco Inc
210 N Brinton Lake Rd                                 Stericycle Inc
Concordville, PA 19331                                28883 Network Pl
                                                      Chicago, IL 60673
Southern California Edison
PO Box 300                                            Sterling Battery Testing LLC
Rosemead, CA 91772                                    54392 Pontiac Tr
                                                      Milford, MI 48381
Spectrum Business
Charter Communications                                Steve Jones
PO Box 6030                                           1875 Moores Mill Rd NW
Carol Stream, IL 60197                                Atlanta, GA 30318

SpeedPro Imaging Long Beach                           Stratus-X LLC
3744 Industry Ave, Ste 403                            9800 Mount Pyramid Ct, Ste 400
Lakewood, CA 90712                                    Englewood, CO 80112

Stadco Ltd                                            Summit Fire and Security LLC
Queensway, Hortonwood Telford                         101 NE 138th St
Shropshire,United Kingdom TF17LL                      Edmond, OK 73013

Standard Profil Spain SA                              Supercar Blondie
Calle La Cadena-Varea 43                              Golden Mile 7, Palm Jumeirah
Logrono-La Rioja, Spain 26006                         Dubai, United Arab Emirates

Standard Profil US LLC                                Surface Prep S.O.T. Division
27300 Haggerty Rd, Ste F5                             9000 Byron Commerce Dr SW
Farmington Hills, MI 48331                            Byron Center, MI 49315

Stanley Engineered Fastening                          Surgere LLC
49201 Gratiot Ave                                     PO Box 95995
Chesterfield, MI 48051                                Chicago, IL 60694




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Suzhou Recodeal Interconnect Sys Co Ltd               Tenibac Graphion Inc
No. 998, Songjia                                      35155 Automation Dr
Suzhou, China 215124                                  Clinton Township, MI 48035

Systems Electro Coating LLC                           Tenneco Automotive Operating Co Inc
253 Old Jackson Rd                                    500 N Field Dr
Madison, MS 39110                                     Lake Forest, IL 60045

Tachi-S Engineering USA Inc                           TestEquity LLC
23227 Commerce Dr                                     2434 McIver Ln
Farmington Hills, MI 48335                            Carrollton, TX 75006

TaxSaver Plan                                         Testron Corporation
4925 Greenville Ave #1300                             34153 Industrial Rd
Dallas, TX 75206                                      Livonia, MI 48150

Taylor Road Holdings LLC                              The Benchmark Company LLC
c/o Newmark Night Frank                               150 East 58th St, 17th Fl
27725 Stansbury Blvd, Ste 300                         Bowling Green, NY 10155
Farmington Hills, MI 48334
                                                      The EMC Shop LLC
TCLAD Inc                                             7401 Galilee Rd, Ste 160
1600 Orrin Rd                                         Roseville, CA 95678
Prescott, WI 54021-2000
                                                      The Ian Martin Group
TDK-Lambda Americas Inc                               610 Chartwell Rd, Ste 101
405 Essex Rd                                          Oakville, Canada L6J 4A5
Neptune, NJ 07753
                                                      The InSource Group Inc
TE Connectivity Ltd                                   7800 N Dallas Pkwy, St 300
1050 Westlakes Dr                                     Plano, TX 75024
Berwyn, PA 19312
                                                      The MathWorks Inc
Tech Mahindra Limited                                 3 Apple Hill Dr
Unit 1, 4th and 5th Fl                                Natick, MA 01760
Plot No 22 to 25 and 27 to 34
Hyderabad, Telangana India 560100                     The QT Company
                                                      3031 Tisch Way
TECHNIA Inc                                           110 Plz W
6300 West Loop S, Ste 125                             San Jose, CA 95128
Bellaire, TX 77401
                                                      The Shyft Group USA Inc
Tektronix Inc                                         603 Earthway Blvd
14150 SW Karl Braun Dr                                Bristol, IN 46507
Beaverton, OR 97077
                                                      The State Chamber Research Foundation
Telos Global LLC                                      330 NE 10th St
1880 Hwy 116                                          Oklahoma City, OK 73104
Caryville, TN 37714
                                                      The Toll Roads Violation Dept
Temprel Inc                                           PO Box 57011
206 Industrial Pkwy                                   Irvine, CA 92619
Boyne City, MI 49712



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Thermoflex Corporation                                Toyota Material Handling Solutions
1535 S Lakeside Dr                                    12012 Burke St
Waukegan, IL 60085                                    Santa Fe Springs, CA 90670

Thompson Hine                                         TPx Communications
3900 Key Tower                                        515 S Flower St, 45th Fl
127 Public Sq                                         Los Angeles, CA 90071
Cleveland, OH 44114
                                                      Transatel
Thomson Reuters – West                                49-51 Quai de Dion Bouton
Payment Center                                        Puteaux, France 92806
PO Box 6292
Carol Stream, IL 60197                                Transportation Research Center Inc
                                                      10820 State Route 347
Thunder Mfg USA Inc                                   PO Box B-67
1030 Fortune Dr                                       East Liberty, OH 43319
Richmond, KY 40475
                                                      TRB Lightweight Structures America LTD
Tianya (Ningde) Auto Parts Co Ltd                     2025 James Howard Dr
No.11, Jianshe Rd, Qidu Town                          Richmond, KY 40475
Ningde, China 352100
                                                      Tri Signal Integration Inc
Tighe Industrial Solutions LLC                        28110 Ave Stanford, Unit D
5460 S Garnett Rd, Ste Q                              Santa Clarita, CA 91355
Tulsa, OK 74146
                                                      TRS Staffing Solutions S DE RL DE CV
Tilleke & Gibbins                                     Insurgentes SUR 601 PISO 12
Supalai Grand Tower, 20th-26th Fl                     Ciudad de Mexico
Chongnonsi, Yannawa                                   COL.NAPOLES C.P. Mexico 3810
Bangkok Thailand 10120
                                                      Trumpler Marketing Group Inc
Timi Creation s.r.o.                                  25018 Broadwell Ave
Morseova 1126/5                                       Harbor City, CA 90710
301 00 Plzeň
Czech Republic                                        Turbo Tint South OKC
                                                      11700 S Western Ave
Toledo Tool & Die Co Inc                              Oklahoma City, OK 73170
105 W Alexis Rd
Toledo, OH 43612                                      Tweddle Group Inc
                                                      24700 Maplehurst Dr
Tom Bourne                                            Clinton Township, MI 48036
[ADDRESS ON FILE]
                                                      Twin Valet Parking Inc
Toppan Merrill USA Inc                                1309 Magnolia Blvd
PO Box 74007295                                       Burbank, CA 91506
Chicago, IL 60674
                                                      UKG Inc
Total Tool Solutions Inc                              fka The Ultimate Software Group Inc
6775 19 Mile Rd                                       PO Box 930953
Sterling Heights, MI 48314                            Atlanta, GA 31193

TOX PRESSOTECHNIK L.L.C.                              UKG Kronos Systems LLC
4250 Weaver Pkwy                                      PO Box 743208
Warrenville, IL 60555                                 Atlanta, GA 30374

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Uline Inc                                             Vector North America Inc
PO Box 88741                                          39500 Orchard Hill Pl, Ste 400
Chicago, IL 60680                                     Novi, MI 48375

Ultimate Hydroforming Inc                             Verizon Wireless
42450 Yearego Dr                                      PO Box 660108
Sterling Heights, MI 48314                            Dallas, TX 75266

Union Rural Electric Cooperative Inc                  Vibracoustic USA Inc
15461 US Highway 36                                   400 Alyworth Ave
Marysville, OH 43040                                  South Haven, MI 49090

UniShield                                             Viper Technologies Inc
599 4th St                                            1840 W 205th St
San Fernando, CA 91340                                Torrance, CA 90501

Unison Electric                                       Waytek Inc
16652 Gemini Ln                                       2440 Galpin Ct
Huntington Beach, CA 92647                            Chanhassen, MN 55317

Unity Technologies ApS                                Webasto Charging Systems Inc
Niels Hemmingsens Gade 24, 1                          800 Royal Oaks Dr, Ste 210
DK-1153 København K                                   Monrovia, CA 91016
Capital Region of Denmark
Copenhagen                                            Weber Plywood and Lumber Co
                                                      15501 Mosher Ave
University of Southern California                     Tustin, CA 92780
Sponsored Projects Accounting
3500 S Figueroa St, Ste 102                           Wedbush Securities Inc
Los Angeles, CA 90089                                 1000 Wilshire Blvd
                                                      Los Angeles, CA 90017
Unum Life Insurance Co of America
1 Fountain Sq                                         Weideman Group Inc
Chattanooga, TN 37402                                 9752 Clos Du Lac Circle
                                                      Loomis, CA 95650
UPS Freight
28013 Network Pl                                      Weiss Technik North America Inc
Chicago, IL 60673                                     12011 Mosteller Rd
                                                      Cincinnati, OH 45241
UPS Protection
1401 E Ball Rd, Ste. G                                Western Allied Corporation
Anaheim, CA 92887                                     12046 Florence Ave
                                                      Santa Fe Springs, CA 90670
US Customs and Border Protection
PO Box 979126                                         Wheels Now Inc
St. Louis, MO 93197-9000                              W22798 Marjean Ln N29
                                                      Waukesha, WI 53186
Valeo North America Inc
4100 North Atlantic Blvd                              Whiskey Six Tactical LLC
Auburn Hills, MI 48326                                12557 240th St
                                                      Blanchard, OK 73010
Vantage Technologies USA Inc
4645 Bree Rd                                          Wil-Kast Inc
China, MI 48054                                       9100 Byron Commerce Dr SW
                                                      Byron Center, MI 49315
4912-9198-7725, v. 1
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                                                      Absopure Water Company
Woory Industrial Company Ltd                          41590 Joy Rd
317 Poseungnam-ro, Poseung-eup                        Plymouth, MI 48170
Pyeongtaek-si
Republic of Korea 17708                               Accel Visa Attorneys PC
                                                      123 Estudillo Ave, Ste 201
Xometry Inc                                           San Leandro, CA 94577
PO Box 735303
Dallas, TX 75373                                      Accuride International Inc
                                                      12311 Shoemaker Ave
Yokogawa Corporation of America                       Santa Fe Springs, CA 90670
2 Dart Rd
Newman, GA 30265                                      Accu-Tech Corporation
                                                      11350 Old Roswell Rd, Ste 100
Young Conaway Stargatt & Taylor LLP                   Alpharetta, GA 30009
1000 N King St
Wilmington, DE 19801                                  Acorn Management Partners LLC
                                                      4080 McGinnis Ferry Rd, Ste. 1101
Zakary Chebaa                                         Alpharetta, GA 30005
[ADDRESS ON FILE]
                                                      Advanced Circuits
Zeltwanger Leak Testing & Automation                  21101 E 32nd Pkwy
1230 Peachtree St NE, Ste 3100                        Aurora, CO 80011
Atlanta, GA 30309
                                                      Advanced Test Equipment Corp
Zion Robotics & Controls LLC                          10401 Roselle St
585 S Cedar St,                                       San Diego, CA 92121
Imlay City, MI 48444
                                                      AdvanTech International
3Li LLC                                               1600 Cottontail Ln
PO Box 8105                                           Somerset, NJ 08875
Elkridge, MD 21075
                                                      AFV Partners LLC
3M Company                                            2126 Hamilton Rd, Ste 260
19460 Victor Pkwy                                     Argyle, TX 76226
Livonia, MI48152
                                                      AGP Worldwide Operations GmbH
A Raymond Manufacturing Center NA Inc                 Avenida Guillermo Dansey 2016
PO Box 78000, Dept 781624                             Cercado de Lima 15081
Detroit, MI 48278                                     Lima, Peru 15081

A V Gauge & Fixture Inc                               Air Compressor Supply LLC
4000 DelDuca Dr                                       3916 S I-35 Service Rd
Oldcastle, Canada N0R 1L0                             Oklahoma City, OK 73170

A&M Septic                                            Airtech International Inc
PO Box 249                                            5700 Skylab
Whitesboro, TX 76273                                  Huntington Beach, CA 92647

A3 Studios                                            Alfing Corporation
1840 W 205th St                                       44160 Plymouth Oaks Blvd
Torrance, CA 90503                                    Plymouth, MI 48170




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Allied Industrial Tool Group                          Aunde Brasil
3061 West Thompson Rd                                 Rua Itápolis, 85
Fenton, MI 48430                                      Villa Ibar Poá
                                                      São Paulo Brazil 08559-459
Almond Products Inc
Dept 9540                                             AUNDE Brasil SA
PO Box 30516                                          Rua Itapolis, 85, Poa City
Lansing, MI 48909                                     Sao Paulo Brazil 08559-450

Altair Production Design Inc                          AUNDE Mexico SA de CV
1820 E Big Beaver St                                  Lote 1 Manzana C, Huejotzingo
Troy, MI 48083                                        Puebla Mexico 74169

Amazon Capital Services Inc                           Automatic Spring Products Corp
PO Box 81207                                          803 Taylor Ave
Seattle, WA 98108                                     Grand Haven, MI 49417

Amazon Web Services Inc                               AutomationDirect
PO Box 84023                                          PO Box 402417
Seattle, WA 98124                                     Atlanta, GA 30384

Amphenol Thermometrics Inc                            Automotive Testing & Devel Svcs Inc
7151 Jack Newell Blvd S                               400 S Etiwanda Ave
Fort Worth, TX 76118                                  Ontario, CA 91761

Anand NVH Products Private Ltd                        Autosales Inc
Plot No 33, Sector 35 Gurugram Haryana                dba Summit Racing Equipment
India 122001                                          PO Box 909
                                                      Akron, OH 44398
Anchor Bay Packaging Corporation
30905 23 Mile Rd                                      Averna Test Systems Inc
New Baltimore, MI 48047                               1515 Center Park Dr
                                                      Charlotte, NC 28217
Andrew Gray
535 Farallon Ave                                      Avnet Inc
Pacifica, CA 94044                                    Avnet Electronics Marketing
                                                      PO Box 100340
Anne Hagerty                                          Pasadena, CA 91189
4846 N Paulina St, #1W
Chicago, IL 60640                                     Axis Product Development Inc
                                                      PO Box 6491
Antenum Inc                                           Carol Stream, IL 60197
12B Star Dr
Merrimack, NH 03054                                   Baker & McKenzie HK
                                                      14th Fl, One Taikoo Pl
Aon Risk Insurance Services West Inc                  979 King’s Rd
707 Wilshire Blvd, Ste 2600                           Quarry Bay, Hong Kong
Los Angeles, CA 90017
                                                      BASELABS GmbH
Apple Inc                                             Technoloqie-Campus 6
One Apple Park Way                                    Chemnitz, Germany 9126
Cupertino, CA 95014
                                                      Battery Store Inc
Arthur F Kingsbury                                    3601 W MacArthur Blvd, Ste 909-911
[ADDRESS ON FILE]                                     Santa Ana, CA 92704
4912-9198-7725, v. 1
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BatterySpace.com                                      BlueTech Global LLC
825 S 19th St                                         100 W Long Lake Rd, Ste 111
Richmond, CA 94804                                    Bloomfield Hills, MI 48304

BCI Mechanical Inc                                    BODO Möller CHEMIE CORP
400 E Oak St                                          2310 Parklake Dr, Ste 415
Denton, TX 76201                                      Atlanta, GA 30345

Beijing Horizon Robotics Technology                   Boisineau Law
Research & Development Co LTD                         16478 Beach Blvd, Ste 347
F3, Block A, Bldg No. 2, IC Park, No.                 Westminster, CA 92683
9 Fenghao East Rd Room 302
Beijing, China 100094                                 Bolay Mobilecom Inc
                                                      PO Box 75470
Bel Power Solutions Inc                               Oklahoma City, OK 73147
PO Box 845440
Dallas, TX 75284                                      Bondtex Inc
                                                      PO Box 890731
Bel-Metric Inc                                        Charlotte, NC 28289-0731
35 Westech Dr
Tyngsboro, MA 01879                                   Bossard Inc
                                                      6521 Production Dr
Benecke Kaliko AG                                     Cedar Falls, IA 50613
Beneckeallee 40, Hanover
Lower Saxony                                          Brady Worldwide Inc
Germany 30419                                         PO Box 71995
                                                      Chicago, IL 60694
Best Packaging & Crating Inc
15010 S Main St                                       Brian Thomas Companies Inc
Gardena, CA 90248                                     1452 Pond Reef Rd
                                                      Ketchikan, AK 99901
BGOV LLC
PO Box 419841                                         Broadband Telcom Power Inc
Boston, MA 02241                                      1719 S Grand Ave
                                                      Santa Ana, CA 92705
Big Blue Box
565 1st St SW                                         Budget Flag
New Brighton, MN 55112                                310 N Rockwell Ave
                                                      Oklahoma City, OK 73127
BIG Studio Inc
1247 E Hill St                                        Bullet Proof Builders Inc
Signal Hill, CA 90755                                 29033 Avenue Sherman, Ste 208
                                                      Valencia, CA 91355
BlackBerry Corp
5030 Riverside Dr, Ste 200                            BYK-Gardner USA
Irving, TX 75039                                      9104 Guilford Rd
                                                      Columbia, MD 21046
Blue Shield of CA
PO Box 629032                                         C & M Supply Inc
El Dorado Hills, CA 95762                             103 E Main St
                                                      Chouteau, OK 74337
Blue Sky Blue Sea Inc
dba American Export Lines                             C&D Lift LLC
13500 S Figueroa St                                   1208 Northeast Johnson Rd
Los Angeles, CA 90061                                 Minco, OK 73059
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CA State Min Franchise Tax                            Cenric Technologies LLC
PO Box 942857                                         906 W mcdermott Dr, Ste 116-117
Sacramento, CA 94257                                  Allen, TX 75013

Cadwell GmbH                                          Cerritos Dodge Inc
Luisenstraße 1                                        18803 Studebaker Rd
Haan, Germany 42781                                   Cerritos, CA 90703

CAP HPI Limited                                       CEVA Freight LLC
Capitol House                                         15350 Vickery Dr
Bond Court, Leeds                                     Houston, TX 77032
Yorkshire United Kingdom LS1 5EZ
                                                      CEVA Logistics US Inc
Caplugs                                               15350 Vickery Dr
2150 Elmwood Ave                                      Houston, TX 77033
Buffalo, NY 14207
                                                      Chavant Inc
Carbon Shock Technologies Inc                         5043 Industrial Rd
1845 W Reno Ave                                       Farmingdale, NJ 07727
Oklahoma City, OK 73106
                                                      CHEP Container & Pooling Solutions Inc
Carcoustics Industrial de Mexico                      PO Box 74008180
S de RL de CV                                         Chicago, IL 60674
Circuito Corral de Piedras 56
San Miguel de Allende                                 Cincinnati Test Systems Inc
Guanajuato Mexico 37888                               10100 Progress Way
                                                      Harrison, OH 45030
Cargo Link Express
25329 Budde Rd                                        Cision US Inc
Bldg 8, Ste 802                                       12051 Indian Creek Ct
The Woodlands, TX 77380                               Beltsville, MD 20705

Carl Zeiss Ind Quality Solutions LLC                  Claudia Gonzalez Romo
Carl Zeiss Ind Metrology LLC                          [ADDRESS ON FILE]
25065 Network Pl
Chicago, IL 60673                                     Click International Hong Kong Co Limited
                                                      11 Cheung Yue St
CASCO Products Corporation                            Cheung Sha Wan, Hong Kong
28698 Network Pl
Chicago, IL 60673                                     ClipperCreek Inc
                                                      11850 Kemper Rd, Ste E
CCL DESIGN                                            Auburn, CA 95603
12303 Collection Center Dr
Chicago, IL 60693                                     Cloudflare Inc
                                                      101 Townsend St
CDP Group (Hong Kong) Limited                         San Francisco, CA 94107
Bldg 7 2377 Shenku Rd
Shanghai, China 201106                                Collabora Limited
                                                      The Platinum Bldg
CDW LLC                                               St Johns Innovation Park Cambridge
PO Box 75723                                          Cambridgeshire United Kingdom CB249DS
Chicago, IL 60675
                                                      Complete Prototype Services Inc
                                                      44783 Morley Dr
                                                      Clinton Township, MI 48036
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Composite Envisions LLC                               Cornerstone Government Affairs Inc
8450 Development Ct                                   800 Maine Ave SW, 7th Floor
Wausau, WI 54401                                      Washington, DC 20024

Concept Group LLC                                     Corrick Enviro Services
2985 E Miraloma Ave                                   PO Box 92071
Anaheim, CA 92806                                     Long Beach, CA 90806

Concepts & Associates Inc                             C-P-S Automotive LP
105 - 19th St S                                       1 Research Dr, Ste 300 I
Birmingham, AL 35210                                  Greenville, SC 29607

Container Alliance Company                            Crawford Electric Supply Co LLC
510 Castillo St, Ste 340                              PO Box 847160
Santa Barbara, CA 93101                               Dallas, TX 75284

Contegix                                              Creative Wave GMBH
PO Box 671710                                         Rudolf- Diesel-Strasse. 12
Dallas, TX 75267                                      Dachau, Germany 85221

Contentful Inc                                        Cristales Inastillables de Mexico SA DE CV
1801 California St, Ste 4600                          Carretera Carretera Estatal Libre
Denver, CO 80202                                      Monterrey-García
                                                      Kilometer 10.3 Kilometer 10+300
ContiTech Fluid Technology                            66000 García, Nuevo León
Changchun Co Ltd
No 5518 Changshen Rd                                  Cross Company
China 130011                                          4400 Piedmont Pkwy
                                                      Greensboro, NC 27410
ContiTech MGW GmbH
Sin Nombre, Delicias                                  Crossland Construction Co Inc
Chihuahua Mexico 33000                                833 S East Ave
                                                      Columbus, KS 66725
ContiTech North America Inc
Carr. Panamericana KM                                 CT Corporation System
135 Parque Ind. Fama C.P. 33015 Delicias              111 8th Ave
Chihuahua Mexico 33015                                New York, NY 10011

Control Risks Middle East Limited                     CTR CO LTD
DIFC, Al Fattan Currency House                        307-106.
Tower 2, Level 26                                     seorisangchon-gil, Yeongsan-myeon
506669 Dubai, United Arab Emirates                    Changnyeong-gun, Gyeonsangnam-do
                                                      Republic of Korea 50342
Converge Engineering LLC
5014 Kingsbridge Pass                                 Curbell Plastics Inc
Powder Springs, GA 30127                              14746 Collections Center Dr
                                                      Chicago, IL 60693
Coremark Metals
216 27th Ave                                          Curve Engineering Solutions Ltd
North Minneapolis, MN 55411                           Suite 5, Hagley Business Centre, Hagley
                                                      West Midlands, United Kingdom DY9 9JW
Corinthian Textile Solutions Inc
2000 SE Milport Rd                                    Custom Plate Pros
Portland, OR 97222                                    Bishop St
                                                      Winston Salem, NC 27104
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                                                      De Angeli Prodotti
Czarnowski Display Services Inc                       Viale dell’Industria, 1
2287 S Blue Island Ave                                Bagnoli di Sopra, Italy 35023
Chicago, IL 60608
                                                      Debevoise & Plimpton LLP
D&N Bending Corp                                      919 Third Ave
150 Shafer Dr                                         New York, NY 10022
Romeo, MI 48065
                                                      Debra Lvon Storch
Dakota Software Corporation                           [ADDRESS ON FILE]
1375 Euclid Ave, Ste 500
Cleveland, OH 44115                                   DEI Logistics (USA) Corporation
                                                      46101 Fremont Blvd
Dalian Yaming Automotive Parts Co Ltd                 Fremont, CA 94538
No.17 Huayang Rd
Development Zone Dalian                               Dell Marketing LP
China 116041                                          PO Box 676021
                                                      Dallas, TX 75267
Dana Limited
PO Box 910230                                         Deloitte & Touche LLP
Dallas, TX 75391                                      PO Box 844708
                                                      Dallas, TX 75284
Danfoss Silicon Power GmbH
Husumer Straße 251                                    Design and Software Int’l Inc
Flensburg, Germany 24941                              526 Niles Rd
                                                      Fairfield, OH 45014
Danlaw Inc
41131 Vincenti Ct                                     Design Systems Inc
Novi, MI 48375                                        38799 W 12 Mile Rd
                                                      Farmington Hills, MI 48331
Datadog Inc
620 8th Ave, 45th Fl                                  Dezeen Limited
New York, NY 10018                                    8 Orsman Rd
                                                      London United Kingdom N1 5QJ
DaVco Mechanical LLC
4248 E 96th St                                        Digikey
Sperry, OK 74073                                      PO Box 250
                                                      Thief River Falls, MN 56701
Daversa Partners
55 Greens Farms Rd, Fl 2                              Dignity Health Sports Park
Westport, CT 06880                                    18400 Avalon Blvd, Ste 100
                                                      Carson, CA 90746
DCI Consulting Group Inc
1920 I Street NW                                      Dinsmore & Associates Inc
Washington, DC 20006                                  1681 Kettering
                                                      Irvine, CA 92614
DCS
5750 New King Dr, Ste 330                             Diversified Machine Systems LLC
Troy, MI 48098                                        1068 Elkton Dr
                                                      Colorado Springs, CO 80907
DCYI LLC
59692 Barkley                                         DMG MORI USA INC
New Hudson, MI 48165                                  2400 Huntington Blvd
                                                      Hoffman Estates, IL 60192

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Documation of DFW LLC                                 Elektrobit Automotive Americas Inc
PO Box 1770                                           18911 N Creek Pkwy, Ste 100
San Antonio, TX 78296                                 Bothell, WA 98011

Donaldson Company Inc                                 Element Materials Technology Detroit LLC
PO Box 1299                                           3701 Port Union Rd
Minneapolis, MN 55440                                 Fairfield, Ohio 45014

Donohoe Advisory Associates LLC                       Elite Electronic Engineering Inc
9801 Washingtonian Blvd, Ste 340                      1516 Centre Cir
Gaithersburg, MD 20878                                Downers Grove, IL 60515

Drive Automotive Industries of America                Elkem Silicones USA Corp
120 Moon Acres Rd                                     2 Tower Center Blvd, Ste 1802
Piedmont, SC 29673                                    East Brunswick, NJ 08816

Dura Ganxiang Auto Systems                            Elliott Electric Supply Inc
Shanghai Co Ltd                                       537 N 40th St
No. 2658 Jinzhang Rd                                  Springdale, AR 72762
Shanghai, China 201518
                                                      Ellsworth Adhesives
During Co LTD                                         25 Hubble
No.512, 353, Namdong-daero                            Irvine, CA 92618
Namdong-gu
Republic of Korea 21630                               Embark Consulting LLC
                                                      2919 Commerce St, Ste 400
Duvaltex US Inc                                       Dallas, TX 75226
PO Box 206435
Dallas, TX 75320                                      Engineered Fastener Company LLC
                                                      29356 Network Pl
Dynatect Manufacturing Inc                            Chicago, IL 60673
PO Box 88709
Milwaukee, WI 53288                                   EntServ Deutschland GmbH
                                                      Schickardstr. 32 Boeblingen
Eales Electronics Corp                                Germany 71034
PO Box 721140
Oklahoma City, OK 73172                               Envorso LLC
                                                      107 Spring St
Eastridge WorkForce Solutions                         Seattle, WA 98104
TEG Staffing Inc
695 Town Center Dr, Ste 1200                          ER Wagner Manufacturing Co
Costa Mesa, CA 92626                                  W130N8691 Old Orchard Rd
                                                      Menomonee Falls, WI 53051
Eat My Words LLC
1835 Venice St                                        ERI Economic Research Institute Inc
San Diego, CA 92017                                   PO Box 3524
                                                      Seattle, WA 98124
EDAG Inc
1875 Research Dr, Ste 200                             ESG Advisor Group LLC
Troy, MI 48083                                        79 Bridge St, Apt 5F
                                                      Brooklyn, NY 11201
Electrolock Inc
17930 Great Lakes Pkwy                                ESPEC North America Inc
Hiram, OH 44234                                       4141 Central Pkwy
                                                      Hudsonville, MI 49426
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Essential Solutions Inc                               Fastmarkets
969G Edgewater Blvd 288                               8 Bouverie St
Foster City, CA 94404                                 London United Kingdom EC4Y 8AX

ETRADE Financial Corporate Services Inc               FedEx Freight Inc
c/o Corp Tax Dept                                     PO Box 660481
671 N Glebe Rd                                        Dallas, TX 75266
Arlington, VA 22203
                                                      Fiberdyne Research Pty Ltd
EvGateway Inc                                         14 Carmel Ave
5251 California Ave, Ste 150                          Ferntree Gully
Irvine, CA 92617                                      Vic Australia 3156

Exact Background Checks                               FileCloud
2721 Casa Grande Way                                  13785 Research Blvd, Ste 125
Celina, TX 75009                                      Austin, TX 78750

Expert Technologies Group Inc                         Filtran LLC
4200 N Atlantic Blvd                                  26804 Network Pl
Auburn Hills, MI 48326                                Chicago, IL 60673

Express Employment Professionals                      Fisher & Phillips LLP
PO Box 203901                                         PO Box 840703
Dallas, TX 75320                                      Los Angeles, CA 90084

Extol Inc                                             Flatbed Tools LLC
651 Case Karsten Dr                                   PO Box 44076
Zeeland, MI 49464                                     Caledonia, WI 53404

EZ Building Services                                  Fluke Electronics Corporation
1309 Magnolia Blvd                                    7272 Collection Center Dr
Burbank, CA 91506                                     Chicago, IL 60693

Fabrinet                                              Foley & Lardner LLP
One Nexus Way                                         777 E Wisconsin Ave
Camana Bay, Grand Cayman                              Milwaukee, WI 53202
Cayman Islands KY1-9005
                                                      Formlabs Inc
Fabrinet West Inc                                     35 Medford St, Ste 201
4900 Patrick Henry Dr                                 Somerville, MA 02143
Santa Clara, CA 95054
                                                      Formnet Inc
FactSet Research Systems Inc                          326 Humber College Blvd
PO Box 414756                                         Toronto, Canada M9W 5P4
Reference # 9V172211
Boston, MA 02241                                      Foster Chiang
                                                      [ADDRESS ON FILE]
FARO Technologies Inc
250 Technology Pk                                     Fountain Valley Paints Inc
Lake Mary, FL 32746                                   11271 Slater Ave
                                                      Fountain Valley, CA 92708
Fastenal Company
3761 5th Ave N
Lethbridge, Canada T1H 5L4
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FPS Technologies Inc                                  Glenn Coffee and Associates PLLC
PO Box 14780                                          915 N Robinson Ave
Oklahoma City, OK 73113                               Oklahoma City, OK 73102

Freudenberg NOK Sealing Technologies                  Global Equipment Company Inc
PO Box 73229                                          2505 Mill Center Pkwy
Chicago, IL 60673                                     Buford, GA 30518

Fujipoly America Corporation                          Global Retool Group America LLC
900 Milik St                                          7290 Kensington Rd
PO Box 119                                            Brighton, MI 48116
Carteret, NJ 07008
                                                      Globe Capital Partners GmbH
Fusion Welding Solutions Inc                          Königstraße, 1A Stuttgart
5700 18 Mile Rd                                       Germany 70173
Sterling Heights, MI 48314
                                                      Goken America LLC
Fuzhou Fushiang Motor Industrial Co Ltd               5100 Parkcenter Ave
No.2 Hongxi Rd                                        Dublin, OH 43017
Qingkou Investment Zone
Fuzhou, China 350119                                  Graebel Relocation Services Worldwide Inc
                                                      16346 E Airport Cir
Gabletek                                              Aurora, CO 80011
667 Elmwood Dr
Troy, MI 48083                                        Grainger
                                                      PO Box 887904933
Ganahl Lumber Co                                      Kansas City, MO 64141
2600 Del Amo Blvd
Torrance, CA 90803                                    Granite Recruitment & Consulting Pty Ltd
                                                      Queen Street, Level 7 Melbourne
Gardena Welding Supply Co Inc                         Victoria Australia 3000
16601 S Normandie Ave
Gardena, CA 90247                                     Graybar Electric Company Inc
                                                      12431 Collections Center Dr
GDC Inc                                               Chicago, IL 60693
300 Steury Ave
Goshen, IN 46528                                      Gregg S Wright
                                                      dba Locker Room Agency LLC
Gentex Corporation                                    9171 Wilshire Blvd, Ste 500
600 N Centennial                                      Beverly Hills, CA 90210
Zeeland, MI 49464
                                                      Gruntwork Inc
Geoform Inc                                           221 E Indianola Ave
16832 Gramercy Pl                                     Phoenix, AZ 85012
Gardena, CA 90247
                                                      Grupo Antolin North America Inc
German Design Consulting Inc                          1700 Atlantic Blvd
11500 W Olympic Blvd, Ste 400                         Auburn Hills, MI 48326
Los Angeles, CA 90064
                                                      Grupo Antolin Tanger
German Design Council                                 Zone Franche d'Exportation de Tanger
Friedrich-Ebert-Anlage 49                             Ilot nº 22B et 21 TANGER
Frankfurt am Main                                     Morocco 900090
Germany 60327

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Guangdong Magna Auto Mirrors Co Ltd                   Hesse Customer Solutions Inc
18 Xinyou Zhong Rd,                                   2109 O'Toole Ave, Ste C
Ronggui, Rongli Community Foshan                      San Jose, CA 95131
China 528300
                                                      Highly Marelli USA Inc
H R Technologies Inc                                  305 Stanley Blvd, Bldg 2
32500 N Avis Dr                                       Shelbyville, TN 37160
Madison Heights, MI 48071
                                                      Hinduja Tech Inc
H3 Construction LLC                                   39555 Orchard Hill Pl, Ste 600
PO Box 947                                            Novi, MI 48375
Roanoke, TX 76262
                                                      HL Mando America Corp
Hammitt and Associates Inc                            955 Meriwether Park Dr
1100 Combermere Dr                                    Hogansville, GA 30230
Troy, MI 48083
                                                      HL Mando Corporation
Hanwha Advanced Materials Mexico                      32, Hamanho-gil, Poseung-eup
S DE RL DE CV                                         Pyeongtaek-si
Av. Tecnologi #1345 Col. Monterrey                    Republic of Korea 17962
Technology Park
Cienega de Flores, Nuevo Leon                         Hogan Lovells US LLP
Mexico 65550                                          PO Box 715890
                                                      Philadelphia, PA 19171
Harbor Freight
Artesia Blvd                                          Home Depot Product Authority LLC
Dallas, TX 75217                                      2455 Paces Ferry Rd
                                                      Atlanta, GA 30339
Harness Inc
55 Stockton St                                        Horiba MIRA Ltd
San Francisco, CA 94108                               Watling St
                                                      Nuneaton, Warwickshire
Hawk Ridge Systems LLC                                United Kingdom CV10 0TU
575 Clyde Ave, Ste 420
Mountain View, CA 94043                               HP INC
                                                      PO Box 742881
HD Supply Inc                                         Los Angeles, CA 90074
PO Box 404468
Atlanta, GA 30384                                     HSL srl
                                                      70, Via Di Vittorio Giuseppe –
Heilind Electronics                                   38015 Lavis (TN) Trento
58 Jonspin Rd                                         Lavis, Trentino Italy 38015
Wilmington, MA 01887
                                                      Hugg & Hall Mobile Storage
Hella Electronics Corporation                         6601 Scott Hamilton Drive
PO Box 5122                                           Little Rock, AR 72209
Carol Stream, IL 60197
                                                      Hugg & Hall Equipment Company
Hendrickson Composite Dayton LLC                      PO Box 194110
PO Box 7410228                                        Little Rock, AR 72219
Chicago, IL 60674
                                                      Hunton Andrews Kurth LLP
Henkel Corporation                                    951 East Byrd St
PO Box 281666                                         Richmond, VA 23219
Atlanta, GA 30384
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Hwaseung R&A Co Ltd                                   Industry Products Co
1150 Stephenson Hwy                                   500 W Statler Rd
Troy, MI 48083                                        Piqua, OH 45356

Hy Vac Technologies Inc                               Innotec Corp
15701 Glendale                                        441 E Roosevelt
Detroit, MI 48227                                     Zeeland, MI 49464

IA Engineers Inc                                      Integral Partners LLC
1200 S Brand Blvd, #227                               1434 Spruce St, Ste 100
Glendale, CA 91204                                    Boulder, CO 80302

IDIADA Automotive Technology UK Ltd                   Intellicosting LLC
St Georges Way, Bermuda Industrial                    980 Chicago Rd
Estate Nuneaton                                       Troy, MI 48083
Warwickshire
United Kingdom CV10 7JS                               Intelligent Optical Systems
                                                      19601 Mariner Ave
Idiada Automotive Technology USA                      Torrance, CA 90503
9270 Holly Rd
Adelanto, CA 92301                                    Interface Inc
                                                      7401 E Butherus Dr
IEE SA                                                Scottsdale, AZ 85260
1121 Centre Rd
Auburn Hills, MI 48326                                Interplex Suzhou Precision Engineering
                                                      36 Xingming St Css Industrial Park
IEWC Holdings Corp                                    Suzhou, China 215021
5001 S Towne Dr
New Berlin, WI 53151                                  InterRegs Ltd
                                                      21-23 East St
IKD Co Ltd                                            Fareham, Hampshire
588 Jinshan Rd                                        United Kingdom PO16 0BZ
Jiangbei Investment
Pioneering Park                                       Intertek Testing Services NA Inc
Ningbo, China 315020                                  PO Box 405176
                                                      Atlanta, GA 30384
Illinois Tool Works Inc
PO Box 75289                                          Interworld Highway LLC
75 Remittance Dr                                      188 Westwood Ave
Chicago, IL 60675                                     Long Branch, NJ 07740

IMI USA INC                                           Inteva Products LLC
Calle 4 Pte.                                          300 Sipingshan Rd
No. 10560 Parque Industrial                           Dingmao Zhenjiang
El Salto Jalisco Mexico                               China 212009
El Salto, Jalisco Mexico 45680
                                                      Intralinks Inc
InDepth Engineering Solutions LLC                     685 Third Ave, 9th Fl
850 Stephenson Hwy, Ste 322                           New York, NY 10017
Troy, MI 48083
                                                      Investment Recovery Services
Industrial Metal Supply Co                            3421 N Sylvan Ave
301 Main St                                           Fort Worth, TX 76111
Riverside, CA 92501

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Invisible Dents LLC                                   Joyson Safety Systems Acquisition LLC
4044 Pine Ridge Ct                                    2500 Innovation Dr
Fenton, MI 48430                                      Auburn Hills, MI 48326

ISO International Organization                        K2 Discovery
for Standardization                                   9903 Santa Monica Blvd, Ste 637
Chemin de Blandonnet 8,                               Beverly Hills, CA 90212
CP 401 Vernier
Switzerland 1214                                      Kameron Buckhout
                                                      536 Adams St, Unit 3
Izoblok SA                                            Albany, CA 94706
Legnicka 15
Chorzów, Poland 41-503                                KAMTEK Inc
                                                      1595 Sterilite Dr
J J Keller & Associates Inc                           Birmingham, AL 35215
3003 Breezewood Ln
PO Box 368                                            Kasai North America Inc
Neenah, WI 54957                                      1200 Volunteer Pkwy
                                                      Manchester, TN 37355
JAC Auto Parts (Ningbo) Co Ltd
No. 30 Xingshun Rd                                    Kee Interface Technology
Sino-Italy, Ningbo Ecological Park                    580 W Central Ave, Unit C
Ningbo, China 315475                                  Brea, CA 92821

James C Chen                                          Kelly Services Inc
[ADDRESS ON FILE]                                     999 West Big Beaver Rd
                                                      Troy, MI 48084
Jane E Hunter
10125 Carlington Valley Ct                            Keyence Corporation of America
Manassas, VA 20111                                    500 Park Blvd, Ste 200
                                                      Itasca, IL 60143
JB Hunt Transport Inc
PO Box 847977                                         Keysight Technologies Inc
Dallas, TX 75284                                      900 S Taft Ave
                                                      Loveland, CO 80537
Jenna Norman Photography
6322 Anthony Ave                                      Kolb Design Technology GmbH & Co KG
Garden Grove, CA 92845                                Josef-Wallner-STr. 5a
                                                      Deggendorf, Germany 94469
JFrog Inc
Lock Box #4482                                        Krayden Inc
PO Box 894482                                         2611 S Harbor Blvd
Los Angeles, CA 90189                                 Santa Ana, CA 92704

Jobplex                                               Kwan & Olynick LLP
71 S Wacker Dr, Ste 2700                              2000 Hearst Ave, Ste 305
Alsip, IL 60606                                       Berkeley, CA 94709

Joe Carlson Studio Inc                                KYOCERA AVX Components (New Delhi)
2022 Edgewood Dr                                      Private Limited Building No. 410
S Pasadena, CA 91030                                  Sector-8, IMT Manesar
                                                      IMT Manesar, Haryana India 122 050
Josette Sheeran
[ADDRESS ON FILE]

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Kyung Chang Industrial Co Ltd                         LexisNexis Division of RELX Inc
6, Seongseo-ro 35-gil,                                28544 Network Pl
Dalseo-gu                                             Chicago, IL 60673
Republic of Korea 42719
                                                      Linamar Holdings Inc
Kyung Chang Precision                                 o/a Camtac Manufacturing
149 Gukgasandan-daero 33-gil                          287 Speedvale Ave West
Dalseong-gun                                          Guelph, Canada N1H 1C5
Republic of Korea 43011
                                                      Linamar Light Metals SAS
Kyung Chang Technology                                San Pablo #50 Industrial Mieleras
Jiang Yin Co LTD                                      Torreon, Coahuila de Zaragoza
No 32, Huangang XI Rd                                 Mexico 27400
Wuxi, China 214446
Kyungshin Cable International Corp                    Linde Gas & Equipment Inc
Parcela #101 Poligono 1 Fracc.3                       2301 SE Creekview Dr
Gomex Palacio                                         Ankeny, IA 50021
Durango Mexico CP 35120
                                                      LS Cable & System (Wuxi) Co Ltd
L&L Products Inc                                      No.9 Lexing Rd
16080 Collections Center Dr                           Wuxi, China 214028
 Chicago, IL 60693
                                                      LS EV KOREA Ltd
L&T Technology Services Limited                       27. Gongdan-ro 140 beon-gil
2035 Lincoln Hwy, St 3002                             Gunpo-si
Edison, NJ 08817                                      Republic of Korea 15845

LA CNC INC                                            Lucid Software Inc
4529 San Fernando Rd                                  17239, 5505 N Cumberland Ave
Ste E                                                 Ste 307
Glendale, CA 91204                                    Chicago, IL 60656

Lampton Welding Supply Co Inc                         Lumenance LLC
601 N Washington                                      4449 Easton Way
Wichita, KS 67214                                     PMB20059
                                                      Columbus, OH 43219
Lasernut
1700 Industrial Ave                                   Luxion Inc
Norco, CA 92860                                       15143 Woodlawn Ave
                                                      Tustin, CA 92780
Lee Contracting Inc
631 Cesar E. Chavez                                   M&K Metal Co
Pontiac, MI 48342                                     14400 S Figueroa St
                                                      Gardena, CA 90249
LEM-USA Inc
11665 W Bradley Rd                                    Mac Tools
Milwaukee, WI 53224                                   5195 Blazer Pkwy
                                                      Pittsburgh, PA 15251
Lewis Built Performance
1231 S Buena Vista St                                 Macauto Mexico SA de CV
Unit K                                                Circuito Paseo de las Colinas 301
San Jacinto, CA 92583                                 Leon, GTO Mexico 37668




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Magna Body & Chassis Iowa                             McSpadden Milner Robinson LLC
403 S 8th St                                          901 N Lincoln Blvd, Ste 380
Montezuma, IA 50171                                   Oklahoma City, OK 73104

Magna Exteriors (Banbury) Limited                     MDA US LLC
Beaumont Rd                                           PO Box 91683435
Banbury, Oxfordshire                                  Chicago, IL 60691
United Kingdom OX16 1TR
                                                      Mediant Communications Inc
Manning Pest Services LLC                             PO Box 75185
PO Box 1231                                           Chicago, IL 60675
Sallisaw, OK 74955
                                                      Mekra Lang North America LLC
Manz AG                                               101 Tillessen Blvd
Steigäckerstraße 5                                    Ridgeway, SC 29130
Reutlingen, Germany 72768
Manz USA Inc                                          Mergon Corporation
376 Dry Bridge Rd, B2                                 5350 Old Pearman Dairy Rd
North Kingstown, RI 02852                             Anderson, SC 29625

Marathon Labels Inc                                   Metrican Stamping LLC
3820 Merchant Rd                                      101 Warren G Medley Dr
Fort Wayne, IN 46818                                  Dickson, TN 37055

Marian Inc                                            MGA Research Corporation
1011 E Saint Clair St                                 12790 Main Rd
Indianapolis, IN 46202                                Akron, NY 14001

Marlon Blackwell Architects PA                        Michigan Scientific Corporation
42 E Center St                                        730 Bellevue Ave
Fayetteville, AR 72701                                Milford, MI 48381

Marsh USA Inc                                         Microsoft Corporation
PO Box 846015                                         1950 N Stemmons Fwy, Ste 5010
Dallas, TX 75284                                      Dallas, TX 75207

Martin Container Inc                                  Mid America Machining Inc
1400 S Atlantic Ave                                   1141 2nd St Maip
Compton, CA 90221                                     Pryor, OK 74361

Matco Tools Corporation                               Millbrook Revolutionary Engineering Inc
4403 Allen Rd                                         36865 Schoolcraft Rd
Stow, OH 44224                                        Livonia, MI 48150

Matheson TriGas Inc                                   MISUMI USA
Dept LA 23793                                         26797 Network Pl
Pasadena, CA 91185                                    Chicago, IL 60673

Maurice Harris                                        Mobase Electronics Co Ltd
1640 W Temple St                                      Tercera Avenida Lote 12
Los Angeles, CA 90026                                 Apodaca, Nuevo Leon Mexico 66600

McLaren Performance Technologies
32233 West Eight Mile Rd
Livonia, MI 48152
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Mobile Mini Inc                                       MSSC US INC
dba Mobile Mini Storage Solutions                     Dept 77206
PO Box 91975                                          PO Box 77000
Chicago, IL 60693                                     Detroit, MI 48277

MOBIS NORTH AMERICA LLC                               Mullenix & Associates LLC
46501 Commerce Center Dr                              501 Woodlane, Ste 105
Plymouth, MI 48170                                    Little Rock, AR 72201

Modern Plating Corporation                            Muller Textiles Inc
701 S Hancock St                                      2199 Spur 239
Freeport, IL 61032                                    Del Rio, TX 78840

Modine Manufacturing Company                          Mursix Corporation
2009 Remke Ave                                        2401 N Executive Park Dr
Lawrenceburg, TN38464                                 Yorktown, IN 47396

Monument Advocacy                                     Myotek Holdings Inc
975 F Street NW, Ste 400B                             PO Box 776463
Washington, DC 20004                                  Chicago, IL 60677

Morse Measurements LLC                                Nabholz Industrial Services
1163 Speedway Blvd                                    PO Box 2090
Salisbury, NC 28146                                   Conway, AR 72033

Moser Services Group LLC                              NAPA Auto Parts
7464 W Henrietta Rd                                   1912 W Carson St
Rush, NY 14543                                        Torrance, CA 90501

Motion Industries                                     Nasdaq Inc
760 W 190th St                                        151 W 42nd St
Gardena, CA 90248                                     New York, NY 10036

Motivo Engineering LLC                                National Instruments Corporation
17700 S Figueroa St                                   11500 N Mopac Expwy
Gardena, CA 90248                                     Austin, TX 78759

MOURI TECH LLC                                        National Material Company LLC
1183 W John Carpenter Fwy                             1965 Pratt Blvd
Irving, TX 75039                                      Arlington Heights, IL 60004

Mouser Electronics Inc                                Nesbitt Building Maintenance Inc
PO Box 99319                                          7348 Boulevard 26
Fort Worth, TX 76199                                  Richland Hills, TX 76180

MRS Electronic Inc                                    NetCentra Inc
6680 Poe Ave, Ste 100                                 556 Riverdale Dr, Unit A
Dayton, OH 45414                                      Glendale, CA 91204

MSC Direct                                            New Eagle LLC
MSC Industrial Supply Co                              110 Parkland Plz
PO Box 953635                                         Ann Arbor, MI 48103
Saint Louis, MO 63195



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New Mather Metals Inc                                 Okta Inc
7877 Solution Ctr                                     PO Box 743620
Chicago, IL 60677                                     Los Angeles, CA 90074

Newark An Avnet Company                               ON Search Partners LLC
300 S Riverside Plz, Ste 2200                         102 First St, Ste 201
Chicago, IL 60606                                     Hudson, OH 44236

Newark Element 14                                     OpenLM Inc
33190 Collection Center Dr                            PO Box 401
Chicago, IL 60693                                     Ramona, CA 92065

Nexen Corporation                                     Orion Security Solutions LLC
291, Daedongwolpo-ro                                  16232 Muirfield Pl
Daehap-myeon                                          Edmond, OK 73013
Daehap-myeon / Changnyeong-gun
50307, Changnyeong-gun                                Orkin LLC
Gyeongsangnam-do                                      PO Box 740300
Republic of Korea 50307                               Cincinnati, OH 45274

Nextsense Inc                                         Orrick Herrington & Sutcliffe LLP
3350 Riverwood Pkwy, Ste 1900                         PO Box 848066
Atlanta, GA 30339                                     Los Angeles, CA 90084

Northern Tool + Equipment                             Osborne Electric Company
2800 Southcross Dr West                               101 NE 46th St
Burnsville, MN 55306                                  Oklahoma City, OK 73105

Notion Labs Inc                                       OT Technology Inc
2300 Harrison St, Fl 2                                PO Box 735296
San Francisco, CA 94110                               Chicago, IL 60673

Novares US LLC                                        Otis Elevator Company
19575 Victor Pkwy, Ste 400                            PO Box 73579
Livonia, MI 48152                                     Chicago, IL 60673

NRTC Alabama Inc                                      Paguzzi Inc
124 Carson Rd                                         17209 S Figueroa St
Center Point, AL 35215                                Unit B
                                                      Gardena, CA 90248
Oakley Industries Inc
35224 Autonation Dr                                   Pangea Made Inc
Clinton Township, MI 48035                            2920 Waterview Dr
                                                      Rochester Hills, MI 48309
Obelisk Engineering Inc
521 NW 17th St                                        Parsus LLP
Oklahoma City, OK 73103                               177 E Colorado Blvd, Ste 200
                                                      Pasadena, CA 91105
Oetiker NY Inc
PO Box 74007134                                       Pennex Aluminum Company LLC
Chicago, IL 60674                                     PO Box 412594
                                                      Boston, MA 02241
Oklahoma Motor Vehicle Commission
4334 NW Exwy, Ste 183
Oklahoma City, OK 73116
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Penske Vehicle Services Inc                           Powerwerx
Penske Truck Leasing Co LP                            23695 Vía del Rio
PO Box 802577                                         Yorba Linda, CA 92887
Chicago, IL 60680
                                                      PPG
Phytools LLC                                          16401 Hawthorne Blvd
900 Winslow Way E, Ste 120                            Torrance, CA
Bainbridge Island, WA 98110
                                                      PPG Industries Inc
Piedmont Plastics                                     PO Box 534974
5010 West WT Harris Blvd                              Atlanta, GA 30353
Charlotte, NC 28269
                                                      Precision Measuring Corp
Pittsburgh Spray Equipment Company                    PO Box 26118
3601 Library Rd                                       Fraser, MI 48026
Pittsburgh, PA 15234
                                                      PREH INC
Plasma Ruggedized Solutions Inc                       Schweinfurter Str. 5-9
2284 Ringwood Ave, Ste A                              Bad Neustadt ad Saale
San Jose, CA 95131                                    Germany 97000

Plastiques du Val de Loire                            Premier Auto Restyling Inc
Zone Industrielle Nord                                12283 Merriman Rd
1 route de la Retaudière                              Livonia, MI 48150
BP 38 Langeais, France 37130
                                                      Prettl Lighting & Interior GmbH
Plastivaloire (PVL)                                   Bollstraße 44-52, Pfullingen
Zone Industrielle Nord                                Germany 72793
1 route de la Retaudière
BP 38 Langeais, France 37130                          PricewaterhouseCoopers LLP
                                                      PO Box 952282
Plexim GmbH                                           Dallas, TX 75395
Technoparkstrasse 1
Zürich, Switzerland 8005                              Prime Wheel
                                                      17705 S Main St
PM Industrial Supply Company                          Gardena, CA 90248
9613 Canoga Ave
Chatsworth, CA 91311                                  Primetime Testing Laboratory
                                                      51821 Industrial Dr
Polycon Industries                                    Macomb, MI 48082
A Division of Magna Exteriors
65 Independence Pl                                    Principal Manufacturing Corp
Guelph, Canada N1K 1H8                                2800 S 19th Ave
                                                      Broadview, IL 60155
POSCO International America Corp
664 Nongong-ro, Nongong-eup                           Product & Tooling Technologies Inc
Dalseong-gun Daegu, Korea, 42981                      33222 Groesbeck Hwy
Nongong-eup, Dalseong-gun                             Fraser, MI 48026
Republic of Korea 42981
                                                      Production Modeling Corporation
Power Sonic Corporation                               15726 Michigan Ave
Smitspol 4, RS Nijkerk                                Dearborn, MI 48126
Netherlands 3861



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Proper Polymers Warren LLC                            RCO Engineering Inc
13870 E Eleven Mile Rd                                45601 Five Mile Rd
Warren, MI 48089                                      Plymouth, MI 48170

Proto Labs Inc                                        Redall Industries Inc
5540 Pioneer Creek Dr                                 Drawer 2448
Maple Plain, MN 55359                                 PO Box 5935
                                                      Troy, MI 48007
Pryor Creek Quality Lawn Care
13 Tallgrass Cir                                      RED-D-ARC
Pryor, OK 74361                                       Welderentals On Pay Hold
                                                      685 A Lee
PTM Corporation                                       Industrial Blvd
6560 Bethuy Rd                                        Austell, GA 30168
Fair Haven, MI 48023
                                                      Reid Supply
Puretec Industrial Water                              PO Box 3384
3151 Sturgis Rd                                       Carol Stream, IL 60132
Oxnard, CA 93030
                                                      Reliable Carriers Inc
Q-Mark Manufacturing Inc                              41555 Koppernick Rd
30051 Comercio                                        Canton, MI 48187
Rancho Santa Margarita, CA 92688
                                                      Renew Biotech Inc
Quality Metalcraft Inc                                Box 1271
12001 Farmington Rd                                   Bragg Creek, Canada T0L0K0
Livonia, MI 48150
                                                      Revchem Composites Inc
Quality Steel Products Inc                            2720 S Willow Ave #B
4978 Technical Dr                                     Bloomington, CA 92316
Milford, MI 48381
                                                      Rexel USA Inc
Racar Engineering LLC                                 PO Box 840638
555 Metro Pl, Ste 500                                 Dallas, TX 75284
Dublin, OH 43017
                                                      Rhino Linings Corporation
RAMPF Group Inc                                       9747 Businesspark Ave
49037 Wixom Tech Dr                                   San Diego, CA 92131
Wixom, MI 48393
                                                      Ridetech
Ranger Design Inc                                     350 S St Charles St
20600 Clark-Graham                                    Jasper, IN 47546
Montreal, Canada H9X 4B6
                                                      Rikkers Technology Law PLLC
Rapid Axis LLC                                        23 Main St
1482 Oddstad Rd                                       Andover, MA 01810
Redwood City, CA 94063
                                                      Robert Bosch LLC
Rawlings Mechanical Corp                              2800 S 25th Ave
11615 Pendleton St                                    Broadview, IL 60155
Sun Valley, CA 91352
                                                      Robertshaw Controls Co
Rays Radiator Clinic Inc                              1222 Hamilton Pkwy
6550 Cobb Dr                                          Itasca, IL 60143
Sterling Heights, MI 48312
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TPK Auto Tech Co Ltd                                  Schaeffler Group USA Inc.
Units 610-611, 6/F Tower 2                            15290 Collections Center Dr
Lippo Ctr 89 Queensway                                Chicago, IL 60693
Admiralty, Hong Kong
                                                      Schwabische Huttenwerke Automotive GmbH
Roboreps Inc                                          Stiewingstraße 111, GERMANY
270 Eisenhower Ln North                               Germany 73433 Aalen-Wasseralfingen
N #10
Lombard, IL 60148                                     Scooter Software Inc.
                                                      625 N Segoe Rd, Ste 104
RockJock                                              Madison, WI 53705
1592 Jenks Dr
Corona, CA 92878                                      Seal Methods Inc.
                                                      11915 Shoemaker Ave
Rogers Luxembourg                                     Santa Fe Springs, CA 90670
Noorwegenstraat 3, Evergem
Oost-vlaanderen Belgium 9940                          Seica Inc.
                                                      110 Avco Rd
Roush Industries Inc                                  Haverhill, MA 01835
34300 W 9 Mile Rd
Farmington, MI 48335                                  Seiren North America LLC
                                                      1500 E Union St
RPS Tool and Engineering                              PO Box 130
16149 Common Rd                                       Morganton, NC 28655
Roseville, MI 48066
                                                      Send Cut Send Inc.
RunBuggy OMI Inc.                                     4835 Longley Dr
1377 Kettering Dr                                     Reno, NV 89502
Ontario, Canada 91761
                                                      Sensata Technologies Inc.
Rvinyl                                                PO Box 100139
140 58th St                                           Atlanta, GA 30384
Brooklyn, NY 11220
                                                      SGS North America Inc.
Sability LP                                           PO Box 2502
12545 Silver Fox Ct                                   Carol Stream, IL 60132
Roswell, GA 30075
                                                      Shanghai Dogood Trade Partnership
SafeHaven Security Group LLC                          Rm 452, Bldg B
212 S Third St                                        Hongqiao World Center
Rogers, AR 72756                                      Shanghai, China 201106

SAMTEC Inc.                                           Shanghai Wisefount Credit Service Co Ltd
520 Park East Blvd                                    Rm 512 5F Bldg 4 No 546 Yuyuan Rd
New Albany, IN 47150                                  Shanghai, China 200040

San Luis Metalforming SA de CV                        Sherfab Unlimited Inc.
Houston 101, Villa de Reyes                           1740 E Monticello Ct
San Luis Potosí Mexico 79526                          Ontario, CA 91761

Schaefer Trans Inc.                                   Shermco Industries Inc.
1960 E Grand Ave, Ste 730                             2425 E Pioneer Dr
El Segundo, CA 90245                                  Irving, TX 75061



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SHI International Corp.                               Sticky Fingers Design
PO Box 952121                                         7522 Slater Ave #103
Dallas, TX 75395                                      Huntington Beach, CA 92648

Sivax North America Inc.                              Stout Risius Ross LLC
1675 Deere Ave                                        PO Box 71770
Irvine, CA 92606                                      Chicago, IL 60694

Sklar Kirsh LLP                                       Strategic Dealer Evolutions Ltd.
1880 Century Park E                                   534 Oneida Dr
Ste 300                                               Burlington, Canada L7T 3V1
Baldwin Hills, CA 90067
                                                      STRINGO Inc.
Slalom LLC                                            2000 Town Ctr, Ste 1830
550 Reserve St, Ste 190                               Southfield, MI 48075
Southlake, TX 76092
                                                      Stuart C Irby Company
Snowflake Inc.                                        PO Box 843959
106 E Babcock St, Ste 3A                              Dallas, TX 75284
Bozeman, MT 59715
                                                      Sunbelt Rentals
So Cal Distribution                                   PO Box 409211
4097 Hillside Dr                                      Atlanta, GA 30384
Banning, CA 92220
                                                      Superior Measuring LLC
SOCAR-STP LLC                                         1625 East Avis Dr
H.Z.Taghiyev Settlement                               Madison Heights, MI 48071
Techno-Park Area
Sumgait, Azerbaijan AZ5022                            Symmetry Electronics
                                                      a division of TTI Inc.
Sprint Electric Inc.                                  2441 Northeast Pkwy
1264 E Hanthorn Rd                                    Fort Worth, TX 76106
Lima, OH 45804
                                                      Tape Craft Corporation
Sprout Social Inc.                                    PO Box 2027
131 S Dearborn St, Ste 700                            Anniston, AL 36202
Chicago, IL 60603
                                                      TAVANT Technologies Inc.
Stabilus Inc.                                         3965 Freedom Cir, Ste 750
Lockbox 638945                                        Santa Clara, CA 95054
PO Box 638945
Cincinnati, OH 45263                                  TCW Services Canada Inc.
                                                      3545 Aero Ct
Staedtler Inc.                                        San Diego, CA 92123
8335 Winnetka Ave #7
Winnetka, CA 91306                                    TeamViewer Germany GmbH
                                                      Bahnhofsplatz 2
Standard Profil Mexico SA de CV                       Goppingen, Germany 73033
Vintech Industries
3778 Van Dyke                                         Technical Professionals Group LLC
Almont, MI 48003                                      3780 S Cactus Rd
                                                      Apache Junction, AZ 85119
Sterling Auto Carriers Inc.
PO Box 350
Firestone, CO 80520
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Technicon Design Corporation                          TMD Machines
26522 La Alameda, Ste 150                             PO Box 2495
Mission Viejo, CA 92691                               Costa Mesa, CA 92628

Texas Instruments Incorporated                        Tom Ortmanns LP
12500 TI Blvd                                         170 Meeting St, Ste 110
Dallas, TX 75243                                      Charleston, SC 29401

The Boldt Company                                     Too Corporation Americas
101 W Hefner Rd                                       Attn Ms Natalie Stanislav
Oklahoma City, OK 73114                               5115 Johnson Dr
                                                      Pleasanton, CA 94588
The Chemours Company FC LLC
PO Box 3558                                           Tool Discounter
Carol Stream, IL 60132                                4280 Centerville Rd
                                                      St. Paul, MN 55127
The Nickles Group LLC
601 13th St NW, Ste 250                               Toray International America Inc.
North Washington, DC 20005                            461 Fifth Ave, 9th Fl
                                                      New York, NY 10017
The Sandbag Store
2752 Abels Ln                                         Toyota Motor Engineering &
Las Vegas, NV 89115                                   Manufacturing North America Inc
                                                      6565 Headquarters Dr
The Strayer Company                                   Plano, TX 75024
131 W Chillicothe Ave
PO Box 446                                            TPI Inc.
Bellefontaine, OH 43311                               373 Market St
                                                      Warren, RI 02885
Thermo Fisher Scientific (Ashville) LLC
28 Schenck Pkwy, Ste 400                              Trans FX Inc.
Asheville, NC 28803                                   2361 Eastman Dr
                                                      Oxnard, CA 93030
Thierry Corporation
4319 Normandy Ct                                      Transient Specialists Inc.
Royal Oak, MI 48073                                   7704 S Grant St
                                                      Burr Ridge, IL 60527
Thomas Dattilo
[ADDRESS ON FILE]                                     Travers Thorp Alberga
                                                      PO Box 472
Thompson Auctioneers Inc.                             Grand Cayman KY1-1106
3519 State Route 235                                  Cayman Islands
Fairborn, OH 45324
                                                      TurboSquid
TireRack                                              935 Gravier St, Ste 1600
7101 Vorden Pkwy                                      New Orleans, LA 70112
South Bend, IN 46628
                                                      TUV SUD America Inc.
Titon International Ltd                               PO Box 22189
The Pound Stoke Prior Ln                              New York, NY 10087
Leominster, Herefordshire
United Kingdom HR6 0NA                                UACJ Auto Whitehall Ind Inc.
                                                      5175 W 6th St
                                                      Ludington, MI 49431

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UL LLC                                                Vitech Manufacturing LP
75 Remittance Dr, Ste 1524                            Sattex 101, J. Gomez Portugal
Chicago, IL 60675                                     Jesus Maria Aguascalientes
                                                      Aguascalientes Mexico 20909
Uncrate LLC
605 N High St                                         Volkswagen Group of America Inc.
PMB 323                                               2200 Woodland Pointe Ave
Columbus, OH 43215                                    Herndon, VA 20171

United GMG                                            Vortex Industries LLC
898 Cambridge Dr                                      File 1095
Elk Grove Village, IL 60007                           1801 W Olympic Blvd
                                                      Pasadena, CA 91199
United Rentals
2720 S Orange Ave                                     Voxx Electronics Corp
Santa Ana, CA 92707                                   P O Box 205423
                                                      Dallas, TX 75320
United Rentals Inc.
PO Box 30129                                          Wacom
College Station, TX 77842                             1455 NW Irving St
                                                      Portland, OR 97209
United Technical Inc.
1081 E North Territorial Rd                           WEGU Manufacturing Inc.
Whitmore Lake, MI 48189                               1707 Harbour St
                                                      Whitby, Canada L1N 9G6
US Environmental Protection Agency
701 Mapes Rd                                          WEIMA America Inc.
Fort Meade, MD 20755                                  3678 Centre Cir
                                                      Fort Mill, SC 29715
US Storage 1 Steel Group
915 Fairway Park Dr                                   Weitron Inc.
Madison, IL 62060                                     801 Pencader Dr
                                                      Newark, DE 19702
usCalibration Incorporated
17922 Sky Pk                                          Worthington Specialty Processing
Irvine, CA 92614                                      27390 Network Pl
                                                      Chicago, IL 60673
Valiant International Inc.
2469 Executive Hills Blvd                             XE.com
Auburn Hills, MI 48326                                1145 Nicholson Rd, Ste 200
                                                      Newmarket, Canada L3Y 9C3
Valvoline LLC
100 Valvoline Way                                     XPO Logistics Freight Inc.
Lexington, KY 40509                                   2211 Old Earhart Rd
                                                      Ann Arbor, MI 48105
VIP Search Group LLC
14901 Quorum Dr, Ste 540                              YINLUN TDI LLC
Dallas, TX 75254                                      4850 E Airport Dr
                                                      Ontario, CA 91761
Vishay Measurements Group
PO Box 27777                                          Zoom Video Communications Inc.
Raleigh, NC 27611                                     55 Almaden Blvd, 6th Fl
                                                      San Jose, CA 95113



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Old Republic Title Company of Oklahoma                 ACE American Insurance Company
4040 North Tulsa                                       436 Walnut Street
Oklahoma City, OK 73112                                Philadelphia, PA 19106

15520 HWY 114 LLC                                      Hartford
2126 Hamilton Road, Suite 260                          690 Asylum Avenue
Argyle, TX 76226                                       Hartford, CT 06155

United States Patent and Trademark Office              Berkley
2121 Crystal Drive, Suite 1002                         475 Steamboat Road
Arlington, VA 22202                                    Greenwich, CT 06830

American Casualty Company of Reading, PA               RSUI
333 South Wabash                                       945 East Paces Ferry Road NE Suite 1800
Chicago, IL 60604                                      Atlanta, GA 30326

The Continental Insurance Company                      AWAC
151 North Franklin Street                              27 Richmond Road
Chicago, Il 60606                                      Pembroke HM 08 Bermuda

James River Insurance Company                          Canopius
6641 West Broad, Suite 300                             200 South Wacker Drive, Suite 950
Richmond, VA 23230                                     Chicago, IL 60606

General Star Indemnity Company                         CapSpecialty
400 Atlantic Street, 9th Floor                         1600 Aspen Commons Suite 300
Stamford, CT 06901                                     Middleton, WI 53562

Lexington Insurance Company                            AmTrust
99 High Street, 25th Floor                             59 Maiden Lane 42nd Floor
Boston, MA 02110-2378                                  New York, NY 10038

HDI Specialty Insurance Company                        AIG
161 North Clark Street, 48th Floor                     1271 Ave of Americas, Floor 41
Chicago, IL 60601                                      New York, NY 10020

Zurich                                                 Chubb BDA
PO Box 968046                                          7 Woodbourne Avenue
Schaumburg, IL 60196                                   Hamilton HM 08 Bermuda

Great American Insurance Company                       AXA XL
301 East Fourth Street                                 100 Constitution Plaza, 17th Floor
Cincinnati, OH 45202                                   Hartford, CT 06103

Starr Marine                                           Sompo
399 Park Avenue, Room 1700                             1221 Avenue of the Americas Floor 18
New York, NY 10022                                     New York, NY 10020

Generali U.S. Branch                                   Argo
250 Greenwich Street, 33rd Floor                       501 7th Avenue, 7th Floor
New York, NY 10007                                     New York, NY 10018

National Casualty Company                              Inigo UK
One West Nationwide Boulevard, 1-14-301                1 Creechurch Ln
Columbus, OH 43215                                     London EC3A 5AY, UK
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Remarkable Views Consultants LTD.                     City of Bentonville
Integreity Capital Management Limited Unit            1000 SW 14th St,
605, 50 Connaught Rd. Central Hong Kong               Bentonville, AR 72712

Oklahoma Ordnance Works Authority                     Awais Hussain
PO Box 945                                            [ADDRESS ON FILE]
Pryor, OK 74362
                                                      Waste Connections Lone Star Inc.
Creative Impact                                       3 Waterway Square Pl, Ste 110
Greenshieldstraat 81                                  The Woodlands, TX 77380
Zwolle, Netherlands 8017 GM
                                                      EV Essentials Ltd.
Sonia Herrera                                         Attention Paul Kirby
[ADDRESS ON FILE]                                     28 Rye Cresccent Cople Bedford
                                                      Bedfordshire, United Kingdom MK44 3TJ
Nitin Patel
[ADDRESS ON FILE]                                     DJ Shepherd Advisory Services Ltd
                                                      25 The Walk Potters Bar, Potters Bar
Corporation Service Company                           Hertfordshire, United Kingdom EN6 1QG
PO Box 7410023
Chicago, IL United States 60674                       Alwyn Behmer
                                                      3724 Spencer St, Apt 310
Total Quality Logistics LLC                           Torrance, CA 90503
4289 Ivy Pointe Boulevard
Anderson, OH 45245                                    Angela Hosonitz
                                                      [ADDRESS ON FILE]
Aditya Sinha
[ADDRESS ON FILE]                                     Bradford Webb
                                                      [ADDRESS ON FILE]
Kunal Bhalla
[ADDRESS ON FILE]                                     Chris Moore
                                                      [ADDRESS ON FILE]
Rajeevnath Raveendranath
[ADDRESS ON FILE]                                     Courtney Graichen
                                                      [ADDRESS ON FILE]
Cian Brogan
19951 Mariner Ave                                     David Balan
Torrance, CA 90503                                    [ADDRESS ON FILE]

Nathaniel Olandese                                    Ernest Paz
[ADDRESS ON FILE]                                     [ADDRESS ON FILE]

Gareth Lee                                            Jeremy Spengler
5871 East Mountain Loop Trail                         [ADDRESS ON FILE]
Anaheim, CA States 92807
                                                      Jimy Wright
Craig Yarbrough                                       [ADDRESS ON FILE]
58 Paseo Aragon
Jaconita, NM 87506                                    Joseph Claywell
                                                      [ADDRESS ON FILE]
Oklahoma CityWater Utilities & Trust
DBA OCWUT                                             Kalob Patino
100 N Walker Ave, Ste 200                             [ADDRESS ON FILE]
Oklahoma City, OK 73102
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Maxwell Fasten                                        Oklahoma Tax Commission
[ADDRESS ON FILE]                                     Franchise Tax
                                                      PO Box 26850
Melissa Pham                                          Oklahoma City, OK 73126
[ADDRESS ON FILE]
                                                      Kaiser Foundation Health Plan Inc
Sarah Smith                                           PO Box 629028
[ADDRESS ON FILE]                                     El Dorado Hills, CA 95762

Tyler Phillips                                        Nolan Yapp
[ADDRESS ON FILE]                                     [ADDRESS ON FILE]

Michael Stough                                        Peter Hwang
19614 E 49th PL S                                     [ADDRESS ON FILE]
Broken Arrow, OK 74014
                                                      Raj Kachhatiya
Corey Boyett                                          [ADDRESS ON FILE]
[ADDRESS ON FILE]
                                                      Sergio Camacho
Kiran Patil                                           [ADDRESS ON FILE]
[ADDRESS ON FILE]                                     Yash Patel
                                                      [ADDRESS ON FILE]
Leo Gonzalez
[ADDRESS ON FILE]                                     Zachary Coe
                                                      [ADDRESS ON FILE]
Christopher Dickhoff
19951 Mariner Avenue                                  Monty Hayes
Torrance, CA 90503                                    [ADDRESS ON FILE]

David Juarez                                          Sungkwon Choi
[ADDRESS ON FILE]                                     [ADDRESS ON FILE]

Aaron Cole                                            Kyle Hooper
[ADDRESS ON FILE]                                     [ADDRESS ON FILE]

Tony Rios                                             Juan Bribiesca
[ADDRESS ON FILE]                                     [ADDRESS ON FILE]

In Motion Images                                      Dan DeGree
58 Lincoln Avenue, Rose Green Bognor Regis,           [ADDRESS ON FILE]
West Sussex United Kingdom PO21 3EW
                                                      Troy Schlotfeldt
Bicester Promotion Limited                            [ADDRESS ON FILE]
The Station Armoury, Building
123 Buckingham Road Bicester                          Omar Ramirez
Oxfordshire United Kingdom OX26 5HA                   [ADDRESS ON FILE]

US Department of Homeland Security                    Dave Singh
Accel Visa Attorneys PC                               [ADDRESS ON FILE]
2648 E Workman Ave, Ste 3001-236 West
Covina, CA 91791                                      Alex Ezeugwa
                                                      [ADDRESS ON FILE]
Michelin North America Inc
PO BOX 100860                                         Anthony Smith
Atlanta, GA 30384                                     [ADDRESS ON FILE]
4912-9198-7725, v. 1
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Cameron Ross                                          View Quality Landscaping
[ADDRESS ON FILE]                                     22418 Elaine Ave
                                                      Lakewood, CA 90716
Chris Nguyen
[ADDRESS ON FILE]                                     Haluk Kantar
                                                      11930 Queen St
Craig Hopkins                                         Fulton, MD 20759
[ADDRESS ON FILE]
                                                      Steven Heinz
David Arft                                            1466 N 3100 W
[ADDRESS ON FILE]                                     Provo, UT 84601

David Wachter                                         Ross Bass
[ADDRESS ON FILE]                                     890 Crabapple Dr
                                                      Loveland, CO 80538
Dean Dominguez
[ADDRESS ON FILE]                                     Dan Lineback
                                                      557 Anita St
Dwayne Locke                                          Laguna Beach, CA 92651
[ADDRESS ON FILE]
                                                      Kevin Solander
Felix Dey                                             5400 Setter Rd
[ADDRESS ON FILE]                                     Roanoke, VA 24012

Francisca Andrade                                     Paul Miller
[ADDRESS ON FILE]                                     183 Filly Ln
                                                      Silverthorne, CO 80498
Jan Urbahn
[ADDRESS ON FILE]                                     Andrew Aldridge
                                                      PO Box 902
Joshua Chandler                                       Garden City, GA 31402
[ADDRESS ON FILE]
                                                      Bill Caravassilis
Maen Ahmad                                            88 Ida Ln
[ADDRESS ON FILE]                                     Brick, NJ 08724

Matthew Plakta                                        Fineas Teodorovici
[ADDRESS ON FILE]                                     365 Pineville Rd
                                                      Statesville, NC 28677
Mike Stoddard
[ADDRESS ON FILE]                                     Gar Vance
                                                      1887 Lake Spider Dr
Mohan Rao                                             Winter Park, FL 32789
[ADDRESS ON FILE]
                                                      Gordon Watt
Mohit Ahuja                                           489 NW Skyline Blvd
[ADDRESS ON FILE]                                     Milwaukie, OR 97229

Nolan Piacentini                                      Harish Ananthakrishnan
[ADDRESS ON FILE]                                     5561 Valerio Trl
                                                      San Diego, CA 92130
Metlife
PO Box 804466
Kansas City, MO 64180
4912-9198-7725, v. 1
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James Liu                                             Steve Jay
1015 Figueroa Terr #21                                1328 Beverly Estate Dr
Los Angeles, CA 90012                                 Beverly Hills, CA 90210

Jason Taylor                                          Yuriy Vasendin
10955 N 138th Way                                     930 Tahoe Blvd, Ste 802
Scottsdale, AZ 85259                                  PMB 568
                                                      Incline Village, NV 89451
Jay Atkinson
1195 Brown St                                         Eric Dahl
Englewood, FL 34224                                   [ADDRESS ON FILE]

John Eichelberger                                     M & N Group Limited
1 Curtis Cir                                          1 Princeton Mews, 167-169 London Road
Winchester, MA 01890                                  Kingston Upon Thames, Surrey
                                                      United Kingdom KT2 6PT
Jojo Ignacio
75 Summit Way                                         Aiman Siddique
San Francisco, CA 94132                               [ADDRESS ON FILE]

Kyle Montgomery                                       Greg Ethridge
17404 E 88th St N                                     [ADDRESS ON FILE]
Owasso, OK 74055
                                                      Jon Kerns
Nick Moceri                                           [ADDRESS ON FILE]
11906 Sarah St
Studio City, CA 91607                                 Patrick LaPlante
                                                      [ADDRESS ON FILE]
Paul Wood
11355 E Newton Pl                                     Nicholas Wade
Tulsa, OK 74116                                       5208 Lake Grove Dr
                                                      Grand Prairie, TX 75052
Phil Haupt
4923 Village Oaks Dr                                  Ted Chott
Roseville, CA 95747                                   130 Private Rd 3472
                                                      Paradise, TX 76073
R. Daniel Hood
[ADDRESS ON FILE]                                     Austin Buice
                                                      609 Tiller Way
Robert Johnson                                        Acworth, GA 30102
17907 Homewood Ave
Homewood, IL 60430                                    Aniruddha Joshi
                                                      [ADDRESS ON FILE]
Scott Mills
6878 Zan Loop                                         Amir Ranjbar
Springdale, AR 72762                                  [ADDRESS ON FILE]

Scott Pelichoff                                       David Pierce
3173 Carrigan Canyon Dr                               [ADDRESS ON FILE]
Brighton, UT 84109
                                                      Nandan Bagadi
Sheldon Tatei                                         [ADDRESS ON FILE]
975 Ala Lilikoi St #901
Honolulu, HI 96818                                    William Vetter
                                                      [ADDRESS ON FILE]
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                                                      John Mattson
Nate Rutter                                           [ADDRESS ON FILE]
[ADDRESS ON FILE]
                                                      Leonardo Menezes
Taylor Kirby                                          [ADDRESS ON FILE]
[ADDRESS ON FILE]
                                                      Nicolas Reyes
Iliya Bridan                                          [ADDRESS ON FILE]
[ADDRESS ON FILE]
                                                      Sinlu Samuel
Marc Maroncelli                                       [ADDRESS ON FILE]
[ADDRESS ON FILE]
                                                      Victor Hale
Shane Beatty                                          [ADDRESS ON FILE]
[ADDRESS ON FILE]
                                                      Rainer Schmeuckle
Cale Bacon                                            [ADDRESS ON FILE]
[ADDRESS ON FILE]
                                                      TMS Self Storage
Mohan Ramamurthy                                      2200 TX-114
[ADDRESS ON FILE]                                     Northlake, TX 76247

Gabriel Shyu                                          Workiva Inc.
[ADDRESS ON FILE]                                     2900 University Boulevard
                                                      Ames, IA 50010
Scott Kostohryz
[ADDRESS ON FILE]

Digvijay Odhekar
[ADDRESS ON FILE]

Alejandro Salas
[ADDRESS ON FILE]

Bashar Khasawneh
[ADDRESS ON FILE]

Brooks DeFrees
[ADDRESS ON FILE]

Clive Hendricks III
[ADDRESS ON FILE]

Daniel Gonzalez
[ADDRESS ON FILE]

Eric Rose
[ADDRESS ON FILE]

Esteban Tapia Caldera
[ADDRESS ON FILE]

Joe Spagnolo
[ADDRESS ON FILE]

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